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              IN THE UNITED STATES BANKRUPTCY COURT

               FOR THE WESTERN DISTRICT OF MISSOURI

In re:                                           Case No.: 23-50034-btf11
                                                 Chapter 11
JLK CONSTRUCTION, LLC,

                                   Debtor.
JLK CONSTRUCTION, LLC,                           Adv. Pro. No. 23-4033-BTF

                      Plaintiff,

v.

GFE NY, LLC, a New York limited
liability company; WHITE ROAD
CAPITAL, LLC, SERIES 120785, dba
GFE HOLDINGS, a Delaware limited
liability company; WHITE ROAD
CAPITAL, LLC, SERIES 127009 DBA
GFE HOLDINGS, a Delaware limited
liability company; PREMIUM
MERCHANT FUNDING 18, LLC, a
Delaware limited liability company; ABE
BURGER, an individual; SAMUEL A.
BRUGMAN, an individual; BOOST
CAPITAL GROUP, LLC, a New York
limited liability company; ZAC BENA, an
individual,

                    Defendants.

                    SECOND AMENDED COMPLAINT FOR:

  DECLARATORY RELIEF; FRAUD; RACKETEERING (18 U.S.C. § 1962);
AVOIDANCE OF FRAUDULENT TRANSFERS; AVOIDANCE OF TRANSFERS;
       AND PRESERVATION AND RECOVERY OF TRANSFERS



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                                             I.

                                 INTRODUCTION,
                            JURISDICTION, AND VENUE

       Plaintiff JLK CONSTRUCTION, LLC, a Missouri limited liability company, the

debtor and debtor-in-possession in the above-entitled case (the "Debtor" or "Plaintiff")

hereby respectfully alleges and states as follows:

       1.     Plaintiff, a Missouri limited liability company, is the debtor and

debtor-in-possession in the Bankruptcy Case, with the rights, powers, and duties of a

trustee. 11 U.S.C. §§1107 and 704.

       2.     At all times herein mentioned, Defendant GFE NY, LLC is a New York

corporation (“GFE”) which is not and was not registered to transact business in the State

of Missouri, and which therefore unlawfully transacted business in the State of Missouri

when it fraudulently induced a small Missouri business, the Plaintiff here, to enter

fraudulent loans, in violation of MO. REV. STAT. § 347.153 (2015).

       3.     At all times herein mentioned, Defendant WHITE ROAD CAPITAL, LLC

SERIES 120785, dba GFE HOLDINGS, is a Delaware limited liability company

(“WHITE ROAD 1”). At all times mentioned herein, WHITE ROAD 1 was not

registered to transact business in the State of Missouri, and which therefore unlawfully

transacted business in the State of Missouri when they fraudulently induced a small

Missouri business, the Plaintiff here, to enter fraudulent loans, in violation of MO. REV.

STAT. § 347.153 (2015).



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       4.     At all times herein mentioned, Defendant WHITE ROAD CAPITAL, LLC

SERIES 127009, dba GFE HOLDINGS, is a Delaware limited liability company

(“WHITE ROAD 2”). At all times mentioned herein, WHITE ROAD 2 was not

registered to transact business in the State of Missouri, and which therefore unlawfully

transacted business in the State of Missouri when they fraudulently induced a small

Missouri business, the Plaintiff here, to enter fraudulent loans, in violation of MO. REV.

STAT. § 347.153 (2015)

       5.     At all times herein mentioned, Defendant PREMIUM MERCHANT

FUNDING 18, LLC, is a Delaware limited liability company with its principal place of

business in New York (“PMF”) which is not and was not registered to transact business in

the State of Missouri, and which therefore unlawfully transacted business in the State of

Missouri in violation of MO. REV. STAT. § 347.153 (2015), when it brokered a loans

between Plaintiff to make fraudulent loans that Defendants, and each of them,

misleadingly labeled a sale of “future receipts.” Plaintiff is further informed and believes

and based thereon alleges that PMF solicits loans and brokers loans for other lenders who

made loans to this Debtor, including, but not limited to GCM Capital, LLC, in addition to

making a loan directly to Plaintiff.

       6.     Plaintiff is informed and believes and based thereon alleges that Defendant

ABE BURGER, is an individual residing in the State of New York (“BURGER”) and the

Chief Operations Officer of PMF.

       7.     Plaintiff is informed and believes and based thereon alleges that Defendant

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SAMUEL A. BRUGMAN, is an individual residing in the State of Michigan

(“BRUGMAN”) and an agent of PMF.

       8.     At all times herein mentioned, Defendant BOOST CAPITAL GROUP,

LLC, is a New York limited liability company (“BOOST”). At all times mentioned

herein, BOOST was not registered to transact business in the State of Missouri, and

which therefore unlawfully transacted business in the State of Missouri in violation of

MO. REV. STAT. § 347.153 (2015) when it fraudulently induced a small Missouri

business, the Plaintiff here, to enter fraudulent loans that Defendants misleadingly labeled

a sale of “future receipts.” Plaintiff is further informed and believes and based thereon

alleges that BOOST solicits loans and brokers loans for other lenders who made loans to

this Debtor, including, but not limited to Alva Advance, LLC, EIN CAP, FFCG, LLC,

and Fundamental Capital, LLC.

       9.     At all times mentioned herein, Defendant ZAC BENA (“BENA”) is an

employee and agent of Defendant BOOST, and at all relevant times was, an individual,

conducting business within this judicial district.

       10.    Plaintiff filed a petition under Chapter 11 of Title 11 of the United States

Code on February 13, 2023 (the “Petition Date”), initiating In re JLK Construction, LLC,

Case No. 23-50034-BTF (the “Bankruptcy Case”).

       11.    The claims in this adversary proceeding arise in and relate to the

Bankruptcy Case.

       12.    The Bankruptcy Court has jurisdiction over this adversary proceeding

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pursuant to 28 U.S.C. §§ 157 and 1334(b).

       13.    This adversary proceeding is a core proceeding under, inter alia, 28 U.S.C.

§§ 157(b)(2)(A), (E), (F) and (H) and (O).

       14.    If this adversary proceeding is determined to be a non-core proceeding,

Plaintiff consents to the entry of final orders and judgments by the bankruptcy judge.

Plaintiff notifies each Defendant that Fed. R. Bankr. P. 7012(b) requires it to admit or

deny whether this adversary proceeding is a core or non-core proceeding and, if non-core,

to state whether each Defendant consents, or does not consent, to the entry of final orders

or judgment by the bankruptcy judge.

       15.    This adversary proceeding is a civil proceeding arising in and related to the

Bankruptcy Case, and such case is pending before this Court. Accordingly, venue in this

Court is proper under 28 U.S.C. § 1409(a).

       16.    Defendants GFE, WHITE ROAD 1 and WHITE ROAD 2 utilized an

almost identical Merchant Agreement in each of the four loans. Each agreement contains

the GFE logo at the top of the agreement. They all utilize the same telephone numbers,

URL and Email address. Both WHITE ROAD 1 and WHITE ROAD 2 are each doing

business as GFE Holdings, as provided in the July 13 Loan and August 5 Loan. Because

of the apparent relationship between these entities, when an allegation is common to each

of these lenders, they will be referred to as the “LENDERS.”

       17.    Plaintiff is unaware of the names of other potential defendants who may be

responsible for the unlawful practices, acts, conduct, and occurrences alleged herein.

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Plaintiff will seek leave of the Court to amend this Complaint to allege the true names and

capacities of these unknown defendants, and to detail the roles they played once Plaintiff

ascertains their identities and/or their manner of participation in the wrongful conduct

herein described.

       18.    At all relevant times, as alleged more fully herein, each Defendant acted as

an agent, servant, employee, co-conspirator, alter-ego and/or joint-venturer of the other

Defendant, and in doing the things alleged herein acted within the course and scope of

such agency, employment, alter-ego and/or in furtherance of the joint venture. Each one

of Defendants’ alleged actions was done with the permission and consent of each of the

other Defendants.

       19.    At all relevant times, as alleged more fully herein, PMF was and is a loan

broker for the LENDERS acting as its agent, servant, employee, co-conspirator, alter-ego

and/or joint-venturer of the other and in doing the things alleged herein acted within the

course and scope of such agency, employment, alter-ego and/or in furtherance of the joint

venture. Each act of said Defendants alleged herein was done with the permission and

consent of each of the other Defendants.

       20.    At all relevant times, as alleged more fully herein, BOOST was and is a

loan broker for the LENDERS acting as its agent, servant, employee, co-conspirator,

alter-ego and/or joint-venturer of the other and in doing the things alleged herein acted

within the course and scope of such agency, employment, alter-ego and/or in furtherance

of the joint venture. Each act of said Defendants alleged herein were done with the

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permission and consent of each of the other Defendants.

                                            II.

                               FACTUAL BACKGROUND

       21.    Beginning on or about 2019, Plaintiff received telephone solicitations from

PMF, offering PMF’s Premium Business Financing Service and Custom Small Business

Solutions, which includes credit servicing, credit card processing, bookkeeping, payroll,

SEO (Search Engine Optimization), and employee retention credit program as well as

Merchant Cash Advances, Line of Credit, Equipment Financing, Mortgage Financing,

Term Loans, Factoring, P.O. Financing, and SBA Loans. PMF offers business consulting

services in addition to brokering loans and making loans itself.

       22.    On or about February 1, 2022 by interstate cell phone communication and

interstate e-mail communication, PMF’s Premium Financing Service pitch to Plaintiff

was that:

       a.     Lenders for which it brokered transactions were legitimate business lenders;

       b.     Lenders for which it brokered transactions charged reasonable interest rates;

       c.     Loans which it brokered were based on commercially reasonable terms that

would be repaid from daily or weekly withdrawals from Plaintiff’s bank account; and

       d.     Lenders for which it brokered transactions would work with Plaintiff just

like a bank but would be easier to work with than a bank.

       23.    On or about February 14, 2022, Plaintiff and Defendant PMF executed a

one-year Consulting Agreement pursuant to which PMF contracted to provide a:

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       ... broad array of services and solutions for small businesses. PMF advises
       merchants on reliable, safe, and innovative financing and payments
       solutions combined with individualized attention to provide tailored
       solutions that respond to the various needs of the business, including but not
       limited to Accounting, Payroll Processing, Marketing, Branding and more.
       Our all-inclusive bundle will provide Client with a thorough review of the
       various metrics of their business and provided tailored solutions that solve
       the business’s most pressing needs. (Emphasis added.)

A true and correct copy of PMF’s Consulting Agreement is attached hereto as Exhibit

“1” and incorporated herein as though fully set forth.

       24.       Pursuant to the Consulting Agreement, Plaintiff agreed to pay a 9% flat fee

commission for PMF’s services payable at the earlier of the (i) completion of any of the

services contemplated by the Consulting Agreement or (ii) the delivery of any financing.

       25.       Plaintiff is informed and believes, and based thereon alleges that BOOST is

a loan broker.

       26.       Beginning in or about 2020, Plaintiff received interstate telephone

solicitations from BOOST, offering brokering services.

       27.       BOOST’s lending pitch to Plaintiff was that:

       a.        Lenders for which it brokered transactions were legitimate business lenders;

       b.        Lenders for which it brokered transactions charged reasonable interest rates;

       c.        Loans which it brokered were based on commercially reasonable terms that

would be repaid from daily or weekly withdrawals from Plaintiff’s bank account; and

       d.        Lenders for which it brokered transactions would work with Plaintiff just

like a bank but would be easier to work with than a bank.



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       28.    When Defendants made the foregoing representations and offered financing

to Plaintiff, Defendants LENDERS, PMF, and BOOST, and each of them, were aware of

the following facts:

       A.     Plaintiff was a Missouri limited liability company;

       B.     Plaintiff had no regular business operations outside of Missouri; and

       C.     Plaintiff had no contacts with New York, the stated jurisdiction, venue, and

choice of law designated by the transaction documents.

       29.    GFE made two short term loans and WHITE ROAD 1 and WHITE ROAD

2 each made one loan to Plaintiff, more fully described below, the terms of which

required daily payments designed to pay the balance over the course of between 111 to

218 business days, without disclosing that Defendants were charging interest rates

between 0.3659% daily and .9827% daily, or an imputed annual interest rate between

133% and 358%. As a result, each loan was usurious and unconscionable in violation of

New York, Missouri, and Federal law.

       30.    Defendants and each of them, had actual and constructive knowledge that

they were brokering or making loans without disclosing the interest rate that Defendants

purported to charge Plaintiff.

         THE MERCHANT CASH ADVANCE AGREEMENTS AT ISSUE

       31.    On or about August 2, 2021, GFE made a loan of money to Plaintiff in the

amount of $125,000.00 (the “August 2nd Loan”), for which Plaintiff was required to

repay Defendant the sum of $180,000.00 (“Receivables Purchased Amount”) within 139

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business days. PMF brokered the loan between Plaintiff and GFE. Attached hereto as

Exhibit “2” is a true and correct copy of the Merchant Agreement ("August 2nd Loan

Documents") pursuant to which GFE made such loan to Plaintiff. Plaintiff paid GFE

$97,500.00. Pursuant to the Weekly Advance Addendum to Merchant Agreement,

attached hereto as part of Exhibit “2.” The loan was broken into 10 weekly amounts.

      32.      The effective daily interest rate on the August 2nd Loan was 0.6858%, or

250.3150% annually, more than the allowable interest rate pursuant to New York,

Missouri, or Federal law.

      33.      On December 7, 2021, GFE made a loan of money to Plaintiff in the

amount of $600,000.00 (the “December 7th Loan”), for which Plaintiff was required to

repay Defendant the sum of $870,000.00 (“Receivables Purchased Amount”) within 218

business days. PMF brokered the loan between Plaintiff and GFE. Attached hereto as

Exhibit “3” is a true and correct copy of the Merchant Agreement (“December 7th Loan

Documents”) pursuant to which GFE made such loan to Plaintiff. Plaintiff paid GFE

$893,994.00.

      34.      The effective daily interest rate on the December 7th Loan was 0.3659%, or

133.5360% annually, more than the allowable interest rate pursuant to New York,

Missouri, or Federal law.

      35.      On July 13, 2022, WHITE ROAD 1 made a loan of money to Plaintiff in

the amount of $277,000.00 (the “July 13th Loan”), for which Plaintiff was required to

repay Defendants the sum of $387,523.00 (“Receivables Purchased Amount”) within 156

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weeks. PMF brokered the loan between Plaintiff and GFE. Attached hereto as Exhibit

“4” is true and correct copy of the Merchant Agreement July 13th Loan Documents

pursuant to which WHITE ROAD 1 made such loan to Plaintiff. Pursuant to the Weekly

Advance Addendum to Merchant Agreement, attached hereto as part of Exhibit “4”, the

loan was broken into 18 weekly amounts; the lender only advanced 4 of the of the 18

installments for a total of $64,331.00. On July 28, 2022, WHITE ROAD 1 withdrew

$60,716.29; in total, Plaintiff paid WHITE ROAD 1 the sum of $83,207.29.

      36.    The effective daily interest rate on the July 13th Loan was 0.4640%, or

169.350% annually, more than the allowable interest rate pursuant to New York,

Missouri, or Federal law.

      37.    On August 5, 2022, WHITE ROAD 2 doing business as GFE Holdings

made a loan of money to Plaintiff in the amount of $50,000.00 (the “August 5th Loan”),

for which Plaintiff was required to repay WHITE ROAD 2 doing business as GFE

Holdings the sum of $64,950.00 (“Receivables Purchased Amount”) within 111 business

days. BOOST brokered the loan between Plaintiff and WHITE ROAD 2 doing business

as GFE Holdings. Attached hereto as Exhibit “5” is a true and correct copy of the

Merchant Agreement (“August 5th Loan Documents”) pursuant to which it made such

loan to Plaintiff. Plaintiff paid WHITE ROAD 2 doing business as GFE Holdings

$67,421.80. The August 2nd Loan Documents, December 7th Loan Documents, July 13th

Loan Documents and August 5th Loan Documents are hereinafter collectively referred to

as “Loan Documents.”

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         38.   Plaintiff made the series of transfers to GFE identified in Exhibit “6”

attached hereto on account of the August 2nd Loan (“August 2nd Loan Transfers”) from

Plaintiff’s property in the sum of $97,500.00.

         39.   Plaintiff made the series of transfers to GFE identified in Exhibit “7”

attached hereto on account of the December 7th Loan (“December 7th Loan Transfers”)

from Plaintiff’s property in the sum of $893,994.00.

         40.   Plaintiff made the series of transfers to WHITE ROAD 1 doing business as

GFE Holdings identified in Exhibit “8” attached hereto on account of the July 13th Loan

(“July 13th Loan Transfers”) from Plaintiff’s property in the sum of $83,207.29.

         41.   Plaintiff made the series of transfers to WHITE ROAD 2 doing business as

GFE Holdings identified in Exhibit “9” attached hereto on account of the August 5th

Loan (“August 5th Loan Transfers”) from Plaintiff’s property in the sum of $67,421.80.

         42.   Plaintiff made transfers to PMF on account of the August 2nd, December

7th and July 13th Loan (“PMF Commission Transfers”) from Plaintiff’s property in an

amount according to proof.

         43.   Plaintiff made the transfer to BOOST on account of the August 5th Loan

(“BOOST Commission Transfers”) from Plaintiff’s property in an amount according to

proof.

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                                 FIRST CLAIM FOR RELIEF:

                                 DECLARATORY RELIEF
                               (AGAINST ALL DEFENDANTS)

       44.        Plaintiff alleges Paragraphs 1 through 43, inclusive, as though fully stated

in full herein.

       45.        Defendants, and each of them, are in the business of brokering and/or

funding predatory loans to small businesses.

       46.        Beginning in or about 2019, Defendant PMF continually solicited Plaintiff’s

business, offering various lending options to Plaintiff to facilitate its Plaintiff’s cash flow.

In 2020, Defendant BOOST began soliciting Plaintiff, offering its brokering services.

       47.        Separately, they each pitched to Plaintiff that:

             a. The many lenders for which they brokered transactions were legitimate

business lenders;

             b. The many lenders for which they brokered transactions charged reasonable

interest rates;

             c. The loans which they brokered were based on commercially reasonable

terms that would be repaid from daily or weekly withdrawals from Plaintiff’s bank

account; and

             d. The many lenders for which they brokered transactions would work with

Plaintiff just like a bank but would be easier to work with than a bank.

       48.        When BOOST and PMF made the foregoing representations and offered



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financing to Plaintiff, they were aware of the following facts:

             a. Plaintiff was a Missouri limited liability company;

             b. Plaintiff had no regular business operations outside of Missouri; and

             c. Plaintiff had no contacts with New York, the LENDERS’ place of business

and state of organization, the stated jurisdiction, venue, and choice of law designated by

the Loan Documents attached as Exhibits “2,” “3,” “4 ” and “5.”

       49.      Defendants and each of them’s only concern was and is whether they could

collect in the event of a default, and not whether the Plaintiff, a small business, could

survive.

       50.      At all times mentioned, Plaintiff was interested in capital loans to help the

company move forward. What Plaintiff received from the LENDERS were Loan

Documents which identified themselves as purchases of future receipts. Documents for

the transactions were forwarded to Plaintiff electronically and followed by phone calls

intended to speed Plaintiff’s execution by indicating the funds were ready to deposit in

Plaintiff’s account and encouraging Plaintiff’s principal to execute the documents without

actually reading them. This deprived Plaintiff of the opportunity to uncover the bait and

switch from a genuine loan to a purchase of future receivables.

       51.      The transactions themselves were concealed loans rather than future receipt

purchases because the terms of the transactions provided the LENDERS with the right to

repayment under all circumstances, including the right to deny reconciliation requests.

The Loan Documents shifted the risk of nonpayment to Plaintiff and did not bear a

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substantial risk of nonpayment because of provisions in the agreement.

       52.    None of the Loan Documents identify Plaintiff’s receivables that the

LENDERS purported to purchase by date, percentage, name, or any other identifying data

that could demonstrate Plaintiff’s ownership of such receivables. Plaintiff made no

alterations to any of the LENDERS’ form documents, which are contracts of adhesion. A

true purchase of future receivables would provide a means to collect from the obligors of

those receivables who would actually owe the obligation. Instead, the LENDERS simply

took funds directly from Plaintiff’s bank account without any consideration of whether

those funds represent any receivables purchased.

       53.    The Loan Documents violate New York law because each one fails to

disclose the interest rate, which is a material term of the contract for a loan. The annual

interest rate or cost of funding that the LENDERS charged to Plaintiff and which Plaintiff

paid was more than 25%, which exceeds the maximum interest rate permitted by New

York law. N.Y. PENAL LAW §190.42.

       54.    Defendants, and each of them, intentionally failed to disclose a material

term of the loans by failing to disclose the interest rate that the Defendants charged to the

Plaintiff by fraudulently labeling the loan a sale of “future receipts.” In fact, Plaintiff sold

nothing. The transactions offered and executed were and are loans of money,

notwithstanding the language at Section 1.9 that “Merchant and [the LENDERS] agree

that the Purchase Price under this Agreement is in exchange for the Purchased amount

and that such Purchase Price is not intended to be, nor shall be construed as a loan from

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[the LENDERS] to Merchant,” contained in each agreement attached as Exhibits “2”

through “4” inclusive.

       55.    The LENDERS intentionally misled Plaintiff by placing on the first page of

each Loan Document a summary table showing a percentage rate of 15% or less. This

was intended to confuse, mislead, and trick Plaintiff into believing that the stated

percentage was the interest rate for the loan, when in fact, the percentage rate related to

the percentage of daily receivables to be deducted from Plaintiff’s bank account until the

loan was repaid.

       56.    The LENDERS, knew or had reason to know, that the loans bore an interest

at a rate of more than 25% per annum.

       57.    The LENDERS, knew, or had reasons to know, that Plaintiff would pay

them interest at a rate more than 25% on all funds received from the loans.

       58.    At the time the LENDERS made the loans to Plaintiff, they were transacting

interstate business in Missouri through repeated and successive transactions of business

with Plaintiff, making loans to Plaintiff from August 2021 through August 2022 and

taking repeated payments from Plaintiff’s bank account beginning in August 2021

through November 2022.

       59.    The LENDERS violated Missouri law because despite that none of the

Defendants were authorized to conduct business in Missouri, each continued to do

business in the State of Missouri and to make loans and withdraw money from Plaintiff’s

bank account in Missouri in violation of Missouri law.

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       60.     Plaintiff made the series of transfers to the the LENDERS identified in

Exhibits “6” through “9” which are attached for informational purposes only and are

subject to amendment, and specifically incorporated herein by this reference, on account

of the loans from the property of Plaintiff in the sum of $1,142,123.09 (“Loan

Transfers”).

       61.     Plaintiff contends that the transactions documented by the Loan Documents

are loans; Defendants, and each of them contend that the transactions are sales of future

receivables.

       62.     Despite their documents form, the transactions are, in economic reality,

loans that are absolutely repayable. The true nature of the Loan Documents contain

hallmarks of a loan are more fully set forth:

       a.      The agreements relied on the Plaintiff’s creditworthiness, rather than the

               creditworthiness of Plaintiff’s customers, who owed Plaintiff receivables;

       b.      Section 1.11 titled “Protections against Default,” see, e.g., Exhibit “1”,

               includes an acceleration clause making the balance due and payable upon

               the event of default, thereby shifting the burden of loss to Plaintiff. ¶ 1.11

               Protection 1;

       c.      The LENDERS have recourse against Plaintiff’s principal based on the

               guaranty executed concurrently with the loans, shifting risk of loss to

               Plaintiff. See, e.g., Exhibit “1”, ¶ 1.11 Protection 2 & ¶ 3.2 Personal

               Guaranty;

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     d.     The LENDERS required Confessions of Judgment shifting risk of loss to

            Plaintiff which the LENDERS are authorized to execute on behalf of

            Plaintiff, shifting the. See, e.g., Exhibit “1”, ¶ 1.11 Protection 3;

     e.     The LENDERS has a right of recourse against Plaintiff based on the

            security agreement executed concurrently with the loans and because the

            Loan Documents provide that Plaintiff grants the LENDERS a security

            interest, shifting risk of loss to Plaintiff. See, e.g., Exhibit “1”, ¶ 1.11

            Protection 4;

     f.     The LENDERS may proceed to protect and enforce its rights and remedies

            by lawsuit in which Plaintiff shall be liable for all costs and attorneys’ fees,

            shifting risk of loss to Plaintiff. See, e.g., Exhibit “1”, ¶ 1.11 Protection 5

            and Protection 6;

     g.     The LENDERS may exercise its rights under the assignment of Plaintiff’s

            lease, shifting risk of loss to Plaintiff. See, e.g., Exhibit “1”, ¶ 1.11

            Protection 7;

     h.     The LENDERS may debit Plaintiff’s depository accounts wherever situated

            by means of ACH, shifting risk of loss to Plaintiff. See, e.g., Exhibit “1”, ¶

            1.11 Protection 8;

     i.     Events of default include any violation of the agreement as outlined in

            Section 1.11 of Exhibit “1” and is funds are unavailable for transfer via

            ACH or any other default; See, e.g., Exhibit “1”, ¶ 3.1 Events of Default;

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       j.     The Loan Documents do not provide a specific reconciliation provision.

              However, the second boilerplate paragraph on the first page of each

              agreement provides that the LENDERS will reconcile Plaintiff’s account

              from Plaintiff’s bank statements within 3 days and issue a refund for any

              overpayments taken by the LENDERS. Plaintiff provided the LENDERS

              with its bank pass codes for full access to Plaintiff’s bank account. The

              LENDERS, however, never reconciled Plaintiff’s payments nor offered to

              do so after the loans were processed, which shifted the risk of loss to

              Plaintiff; and,

       k.     The selection of daily payment rates did not represent a good faith estimate

              of receivables.

       63.    The LENDERS’ Loan Documents provide for recovery of attorneys’ fees

and costs and Plaintiff is therefore entitled to an award of attorneys’ fees and costs

pursuant to New York Law, N.Y. DEBT. & CRED. LAW § 278(A).

       64.    Plaintiff seeks a declaration by the Court that the transactions which are the

subject of this action are disguised loans and not a sale of future receivables.

                            SECOND CLAIM FOR RELIEF:

                                  FRAUD
                  (AGAINST PMF, BRUGMAN, BOOST and BENA)

       65.    Plaintiff alleges Paragraphs 1 through 43, inclusive, and Paragraphs 45

through 64, inclusive, as though fully stated in full herein.



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       66.    PMF is in the business of making and brokering loans to small businesses

such as Plaintiff.

       67.    BOOST is a loan broker. “We help trusted businesses get money for

businesses funding as quickly and efficiently as possible with funding from Boost Capital

Group. We can help commercial clients looking for an increase in capital through

business funds by simplifying the process for approval.” ( www.boostcapitalgroup.com.)

       68.    Beginning in or about 2019, BOOST through its agent, BENA, continually

solicited Plaintiff’s business, offering various lending options to Plaintiff to facilitate

Plaintiff’s cash flow.

       69.    PMF, through its agent BRUGMAN, and BOOST, through its agent BENA,

each pitched Plaintiff was that:

       a.     The many lenders for which they brokered transactions were legitimate

              business lenders;

       b.     The many lenders for which they brokered transactions charged reasonable

              interest rates;

       c.     The loans which they brokered were based on commercially reasonable

              terms that would be repaid from daily or weekly withdrawals from

              Plaintiff’s bank account; and,

       d.     The many lenders for which it brokered transactions would work with

              Plaintiff just like a bank but would be easier to work with than a bank.

       70.    When BRUGMAN on behalf of PMF and, BENA on behalf of BOOST

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made the foregoing representations and offered financing to Plaintiff, they were aware of

the following facts:

       a.     Plaintiff was a Missouri limited liability company;

       b.     Plaintiff had no regular business operations outside of Missouri; and

       c.     Plaintiff had no contacts with New York, Defendant the LENDERS’ place

              of business and state of organization, the stated jurisdiction, venue, and

              choice of law designated by the the LENDERS’ Loan Documents.

       71.    Throughout the initial negotiations for credit, Plaintiff only inquired about a

loan. Plaintiff is a small Missouri business operated by a single individual with limited

resources, education, and experience in lending. Plaintiff was never informed prior to

entering any of the agreement that there would be no interest rate because the transaction

was a purchase of receivables.

       72.    When Plaintiff agreed to the transaction, it believed it was obtaining a loan.

When the Loan Documents were electronically transmitted to Plaintiff’s principal, they

were followed up with a calls from BRUGMAN of PMF or BENA of BOOST, who

discouraged any review of the transaction document and focused Plaintiff to simply sign

the agreement without reading the document. Plaintiff was rushed through the process

with statements about funds being ready to deposit in Plaintiff’s bank account for

immediate use. In a text box on the signature page, a percentage rate of 15% or less was

prominently displayed. There was no reason for Plaintiff to assume that referred to

anything other than a legal interest rate.

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       73.     There had never been a meeting of the minds because neither BOOST or its

agent or PMF or its agent disclosed the transaction was not as described during

negotiations and prevented Plaintiff from conducting a review of the agreement prior to

execution.

       74.     Notwithstanding that BENA, BOOST, BRUGMAN and PMF knew, or

should have known Plaintiff’s financial condition, from August 2, 2021 through August

5, 2022, PMF and BOOST brokered and the LENDERS made four short term loans to

Plaintiff, more fully described above, the terms of which required daily payments

designed to pay the balance over the course of between 111 to 218 business days, without

disclosing that Defendants were charging an interest rate between 0.3659% daily and

.9827% daily, or an imputed annual interest rate between 133% and 358%. As a result,

each loan was usurious and unconscionable in violation of New York, Missouri, and

Federal law.

       75.     Plaintiff is informed and believes and based thereon alleges that at all times

herein mentioned, that the LENDERS, PMF, BRUGMAN, BOOST and BENA, and each

of them, had actual and constructive knowledge that each was engaging in bait and switch

tactics to induce Plaintiff to enter transactions to which it did not agree. As the stated

percentage rate identified on the Loan Documents’ first page was understood by Plaintiff

to be an interest rate, when calculated on what was actually paid to the LENDERS the

interest rate would have been significantly higher than 15% or less, approaching 358% in

some instances. Plaintiff would not have agreed to such unreasonable interest rates.

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       76.    Had Plaintiff known the truth that the agreements purported to be sales of

receivables at extremely high rates of return far in excess of any legal interest imposed by

a lawful loan, it would never have entered the transactions.

       77.    PMF, through its agent BRUGMAN, and BOOST, through its agent BENA,

each separately and fraudulently represented to Plaintiff that the interest rate chargeable

for each loan was reasonable and lawful, when in fact they presented Loan Documents

drafted with the intent of avoiding usurious interest rates greater than the allowed rates

pursuant to New York law.

       78.    The LENDERS, PMF, BRUGMAN, BOOST and BENA knew or should

have known that they falsely substituted terms of a sale of future receipts and employed

an electronic means to sign the agreements in such a way as to conceal the true nature of

the documents.

       79.    Plaintiff justifiably relied upon representations that it would be obtaining a

loan because only a loan was requested and in response to inquiry regarding interest rates,

Plaintiff was informed they were to be reasonable and lawful. Having entered a

consulting agreement with PMF in February of 2022, PMF and BRUGMAN assumed

fiduciary duties towards Plaintiff to advise on business and finance matters. See, Exhibit

“1.” Plaintiff is justified because it was never told that there would be no interest and

why and could rely upon trusted advisers. Plaintiff was induced to execute the Loan

Documents by the Defendants, and each of them, as alleged herein without examining the

terms contained within the documents. In so doing, Defendants and each of them aided

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and abetted each other to accomplish the task of deflecting Plaintiff from knowing the

true nature of the agreements to enable the LENDERS to collect usurious interest.

       80.    As a proximate result of the conduct by Defendants and each of them,

Plaintiff has been damaged in a sum of not less than $1,142,123 on account of the Loans

Transfers, as set forth in Exhibits “6” through “9”, inclusive, and in a sum according to

proof on account of the PMF and BOOST Commission Transfers.

       81.    Plaintiff justifiably relied upon these false representations, because its

principal sought reasonable and lawful interest and was never told there would be no

interest as it was not a loan. Plaintiff was induced to execute the Loan Documents by

these fraudulent and deceitful material falsehoods and concealments, believing the

LENDERS’, PMF’s, BRUGMAN’s, BOOST’s and BENA’s statements to be true.

       82.    PMF’s conduct with respect to Plaintiff was egregious and directed at

Plaintiff by charging it interest rate that is more than the interest rate that is considered

criminal usury and in fact, felonious usury pursuant to New York law, which was a

pattern of activity directed to the public generally and Plaintiff is entitled to punitive

damages in the sum of $100,000.00.

       83.    Boost’s conduct with respect to Plaintiff was egregious and directed at

Plaintiff by charging it interest rate that is more than the interest rate that is considered

criminal usury and in fact, felonious usury pursuant to New York law, which was a

pattern of activity directed to the public generally and Plaintiff is entitled to punitive

damages in the sum of $100,000.00.

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          84.   The LENDERS’ conduct with respect to Plaintiff was egregious and

directed at Plaintiff by charging it interest rate that is more than the interest rate that is

considered criminal usury and in fact, felonious usury pursuant to New York law, which

was a pattern of activity directed to the public generally and Plaintiff is entitled to

punitive damages in the sum of $3,000,000.00.

                              THIRD CLAIM FOR RELIEF:

               RACKETEERING - (18 U.S.C. § 1961, et. seq.)
      (AGAINST GFE, WHITE ROAD 1, WHITE ROAD 2, PMF, BURGER,
                     BRUGMAN, BOOST and BENA)

          85.   Plaintiff alleges Paragraphs 1 through 43, inclusive, Paragraphs 45 through

64, inclusive, and Paragraphs 66 through 81, inclusive, as though fully stated in full

herein.

          86.   The Merchant Cash Advance (“MCA”) industry is a predatory lending

industry charging exorbitant interest rates. Predatory lending is based based on the ability

to collect, rather than the ability of the borrower to repay without going out of business.

The MCAs receive the much of their revenues from the origination process rather than

from the performance of the loan.

          87.   A fundamental characteristic of predatory lending is the aggressive

marketing of credit to prospective borrowers who simply cannot afford the credit on the

terms being offered. Typically, such credit is underwritten predominately on the basis of

liquidation value of the collateral, without regard to the borrower’s ability to service and

repay the loan according to its terms absent resorting to that collateral.

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       88.    In addition to charging unlawful interest, the scheme is designed to trap

small businesses, like Plaintiff, into a never-ending spiral of debt similar to a payday

lending where the small business has to take out additional loans to a prior one.

       89.    Although the Loan Documents refer to the transaction as a sale of

receivables, the transactions were, in fact, loans. The true nature of the Loan Documents

contain hallmarks of a loan are more fully set forth:

       a.     The agreements relied on the Plaintiff’s creditworthiness, rather than the

              creditworthiness of Plaintiff’s customers, who owed Plaintiff receivables;

       b.     Section 1.11 titled “Protections against Default,” see, e.g., Exhibit “1”,

              includes an acceleration clause making the balance due and payable upon

              the event of default, thereby shifting the burden of loss to Plaintiff. ¶ 1.11

              Protection 1;

       c.     The LENDERS have recourse against Plaintiff’s principal based on the

              guaranty executed concurrently with the loans, shifting risk of loss to

              Plaintiff. See, e.g., Exhibit “1”, ¶ 1.11 Protection 2 & ¶ 3.2 Personal

              Guaranty;

       d.     The LENDERS required Confessions of Judgment shifting risk of loss to

              Plaintiff which The LENDERS are authorized to execute on behalf of

              Plaintiff, shifting the. See, e.g., Exhibit “1”, ¶ 1.11 Protection 3;

       e.     The LENDERS have a right of recourse against Plaintiff based on the

              security agreement executed concurrently with the loans and because the

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            Loan Documents provide that Plaintiff grants the LENDERS a security

            interest, shifting risk of loss to Plaintiff. See, e.g., Exhibit “1”, ¶ 1.11

            Protection 4;

     f.     The LENDERS may proceed to protect and enforce its rights and remedies

            by lawsuit in which Plaintiff shall be liable for all costs and attorneys’ fees,

            shifting risk of loss to Plaintiff. See, e.g., Exhibit “1”, ¶ 1.11 Protection 5

            and Protection 6;

     g.     The LENDERS may exercise its rights under the assignment of Plaintiff’s

            lease, shifting risk of loss to Plaintiff. See, e.g., Exhibit “1”, ¶ 1.11

            Protection 7;

     h.     The LENDERS may debit Plaintiff’s depository accounts wherever situated

            by means of ACH, shifting risk of loss to Plaintiff. See, e.g., Exhibit “1”, ¶

            1.11 Protection 8;

     i.     Events of default include any violation of the agreement as outlined in

            Section 1.11 of Exhibit “1” and is funds are unavailable for transfer via

            ACH or any other default; See, e.g., Exhibit “1”, ¶ 3.1 Events of Default;

     j.     The Loan Documents do not provide a specific reconciliation provision.

            However, the second boilerplate paragraph on the first page provides that

            the LENDERS will reconcile Plaintiff’s account from Plaintiff’s bank

            statements within 3 days and issue a refund for any overpayments taken by

            GFE. Plaintiff provided the LENDERS with its bank pass codes for full

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              access to Plaintiff’s bank account. The LENDERS, however, never

              reconciled Plaintiff’s payments nor offered to do so after the loans were

              processed, which shifted the risk of loss to Plaintiff; and,

       k.     The selection of daily payment rates did not represent a good faith estimate

              of receivables.

       90.    The LENDERS’ Loan Documents provide for recovery of attorneys’ fees

and costs and Plaintiff is therefore entitled to an award of attorneys’ fees and costs

pursuant to New York Law, N.Y. DEBT. & CRED. LAW § 278(A).

       The Unlawful Activity.

       91.    New York places a 25% annual limit on the amount of interest that can be

charged in connection with providing a loan. N.Y. PENAL LAW §190.42.

       92.    From August 2, 2021 through August 5, 2022 PMF and BOOST brokered

and the LENDERS made four short term loans to Plaintiff, more fully described above,

the terms of which required daily payments designed to pay the balance over the course of

between 111 to 218 business days, without disclosing that Defendants were charging an

interest rate between 0.3659% daily and .9827% daily, or an imputed annual interest rate

between 133% and 358%. As a result, each loan was usurious and unconscionable in

violation of New York, Missouri, and Federal law.

       93.    For example, in the August 2nd Loan, GFE made a loan of money to

Plaintiff in the amount of $125,000.00, for which Plaintiff was required to repay

Defendant the sum of $180,000.00 (“Receivables Purchased Amount”) within 139

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business days. PMF brokered the loan between Plaintiff and GFE. Attached hereto as

Exhibit “2” is a true and correct copy of the Merchant Agreement (“August 2nd Loan

Documents”) pursuant to which GFE made such loan to Plaintiff. Plaintiff paid GFE

$97,500.00. Pursuant to the Weekly Advance Addendum to Merchant Agreement,

attached hereto as part of Exhibit “2”, the loan was broken into 10 weekly amounts.

       94.    The effective daily interest rate on the August 2nd Loan was 0.6858%, or

250.3150% annually, more than the allowable interest rate pursuant to New York,

Missouri, or Federal law. Further, by domiciling their business in New York, they take

advantage of New York law which only permits commercial claims of usury as a defense

to collection, thus insulating Defendants and each of them from New York’s usury laws’

limit of 25% per year. N.Y. PENAL LAW §190.42. Each of the following three

transactions contained similar or more usurious rates. See, Exhibits “2” through “5”.

       95.    As a consequence of the scheme used by LENDERS, PMF, BURGER,

BRUGMAN, BOOST and BENA, the debt, including such debt evidence by the Loan

Documents, constitutes unlawful debt within the meaning of 18 U.S.C. § 1962(c) and (d),

18 U.S.C. 1961(6) because (i) it violates applicable criminal usury statues and (ii) the

rates are more than twice the legal rate permitted by New York Penal Law ¶ 190.40.

       96.    The Loan Documents are unconscionable contracts of adhesion that were

not negotiated at arm-length. Instead, each contains one-sided terms that prey upon a

small business and individual owner’s desperation that conceals the fact that the

transactions, including those involving Plaintiff, are really loans.

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      97.    Among the one-sided terms, the Loan Documents (See, Exhibits “2”

through “5”, inclusive) include:

      a.     a provision giving the LENDERS the irrevocable right to withdraw money

             directly from the merchant’s bank accounts;

      b.     a provision preventing the merchant from transferring, moving or selling

             the business or any assets without the LENDERS’ permission;

      c.     a one-sided attorneys’ fees provision obligating the merchant, Plaintiff, to

             pay the LENDERS’ attorneys’ fees but not the other way around;

      d.     a venue and choice-of-law provision requiring the merchant to litigate in a

             foreign jurisdiction under the laws of a foreign jurisdiction;

      e.     a personal guaranty, the revocation of which is an event of default;

      f.     a jury waiver;

      g.     a class action waiver;

      h.     a collateral and security agreement providing a UCC lien over all of

             merchant’s assets;

      i.     a prohibition of obtaining financing from other sources;

      j.     the maintenance of business interruption insurance;

      k.     the right to direct all credit card processing payments to the LENDERS;

      l.     a power-of attorney “to take any and all action necessary to direct such new

             or additional credit card processor to make payment to the LENDERS; and

      m.     a power of attorney authorizing the LENDERS “to take any action or

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             execute any instrument or document to settle all obligations due…”

      98.    The Loan Documents are also unconscionable because each contains

numerous knowingly false statements. Among these knowingly false statements are that:

      a.     the transaction is not a loan;

      b.     the daily payment is a good faith estimate of the merchant’s receivables;

      c.     the fixed daily payment is for the merchant’s convenience; and

      d.     that the automated ACH program is labor intensive, requiring EIN to charge

             an exorbitant ACH Program Fee or Origination Fee.

      99.    The Loan Documents are also unconscionable because they are designed to

fail. Among other things, the Loan Documents are designed to result in a default in the

event that the merchant’s business suffers any downturn in sales by:

      a.     forcing the merchant to wait until the end of the month before entitling it to

             invoke the reconciliation provision;

      b.     preventing the merchant from obtaining other financing; and

      c.     requiring the merchant to continuously represent and warrant that there has

             been no material adverse changes, financial or otherwise, in such condition,

             operation or ownership of merchant.

      100.   The Loan Documents (Exhibits “2” through “5”) also contain numerous

improper penalties that violate New York’s strong public policy. Among these improper

penalties, the Loan Documents:

      a.     require the merchant to sign a confession of judgment entitling GFE to

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              liquidated attorneys’ fees based on a percentage of the amount owed rather

              than a good faith estimate of the attorneys’ fees required to file a confession

              of judgment;

       b.     accelerate the entire debt upon an Event of Default; and

       c.     require the Plaintiff to turn over 100% of all its receivables if it misses just

              one fixed daily payment.

       101.   The Loan Documents do not provide a specific reconciliation provision.

However, the second boilerplate paragraph on the first page of each agreement provides

that the LENDERS will reconcile Plaintiff’s account from Plaintiff’s bank statements

within 3 days, adjust the estimated daily rate up or down as indicated, and issue a refund

for any overpayments taken by the LENDERS. Plaintiff provided the LENDERS with its

bank pass codes for full access to Plaintiff’s bank account. The LENDERS, however,

never reconciled Plaintiff’s payments nor offered to do so after the loans were

processed.The Defendants would induce small businesses like Plaintiff with promises of

loans with legal interest rates and then switch the terms to be a purchase of future

receivables. However, by taking a security interest in all of Plaintiff’s assets, it is clear

that the LENDERS did not take ownership of any future receivables, which became

collateral for an unlawful loan.

       Culpable Persons.

       102.   The LENDERS, PMF, BURGER, BRUGMAN, BOOST and BENA are

persons within the meaning of 18 U.S.C. § 1961(3) and § 1982(c) in that each is either an

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individual, corporation, or limited liability company capable of holding a legal interest in

property.

       103.   At all times mentioned herein, the LENDERS, PMF, BURGER,

BRUGMAN, BOOST and BENA, were and are persons that exists separate and distinct

from the Enterprise, described below.

       104.   The LENDERS, PMF, BURGER, BRUGMAN, BOOST and BENA

devised the usurious scheme above to ensure collection of unlawful debts from which

they received unknown portions thereof.

       The Enterprise.

       105.   G.F.E. Holdings, LLC (“GFE Holdings”) constitutes an Enterprise (the

“Enterprise”) within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c). Defendants

White Road Capital LLC, Series 127009 and White Road Capital LLC, Series 120785,

both successors to GFE NY, LLC are both doing business as GFE Holdings.

Notwithstanding, the Delaware secretary of state identifies two similar entities, GFE

Holdings LLC and G.F.E. Holdings LLC.

       106.   GFE Holdings, an entity of unknown form, was created to manage and

provide legitimate lending services to businesses, such as Plaintiff. GFE Holdings was

usurped by the LENDERS, PMF, BURGER, BRUGMAN, BOOST and BENA for their

nefarious purposes and exercised authority over the Enterprise.

       107.   The LENDERS, PMF, BURGER, BRUGMAN, BOOST and BENA are

associated in fact for the common purposes of collecting on an unlawful debt.

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Specifically, the Defendants, and each of them, engaged in a common goal of soliciting,

funding, servicing, and collecting upon usurious loans that charge interest at more than

twice the enforceable rate under the laws of the New York. Defendants, and each of

them, devised a payment scheme that required Plaintiff to provide access to its bank

accounts where the LENDERS caused daily payments to be withdrawn.

       108.   Defendants, and each of them, have worked together for a several years and

have enjoyed the benefits of construing loans as a purchase of future receivables in order

to avoid New York State usury laws and have used GFE Holdings to pursue such

unlawful goals.

       109.   At all times mentioned herein, and continuing through the present, the

members of the Culpable Persons have had ongoing relations with each other for the

purpose of originating, underwriting, servicing, and collecting upon unlawful debts using

the Enterprise for collection.

       110.   New York law looks primarily to the intent of the parties in determining

whether a transaction is a loan. As alleged above, the major indicia of whether a

transaction is a loan or purchase of future receipts is whether the risk of loss falls on the

lender or the borrower. Here, the Loan Documents provide no risk for the LENDERS.

Plaintiff is informed and believes that Defendants, and each of them, knew or should have

known that PMF and BOOST had completed transactions with Plaintiff with other MCA

lenders when Plaintiff was requested to execute the MCA agreements which included an

anti-stacking provision, rendering Plaintiff in serious default upon execution. Defendants

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and each of them never intended to suffer any loss.

       111.   As a proximate result of the conduct of Defendants, and each of them,

Plaintiff has been damaged in a sum of approximately $1,142,123 constituting the

exorbitant interest collected by the LENDERS; was required to file for protection under

the U.S. Bankruptcy Code, retained and paid counsel and is entitled to treble damages,

costs and attorney fees under 18 U.S. Code § 1964.

       112.   Plaintiff requests that this Court enter a judgment against Defendants and

each of them, in the amount of Plaintiff’s actual damages, plus treble damages, and

attorney’s fee.

                              FIFTH CLAIM FOR RELIEF:

                     AVOIDANCE OF FRAUDULENT TRANSFER
                  (11 U.S.C. § 548(a)(l)(B), MO. REV. STAT. § 428.024,
                        N.Y. DEBT. & CRED. LAW §§ 270-280)
                           (AGAINST ALL DEFENDANTS)

       113.   Plaintiff alleges Paragraphs 1 through 43, inclusive, Paragraphs 45 through

64, inclusive, Paragraphs 66 through 81, inclusive, and Paragraphs 86 through 111 as

though fully stated in full herein.

       114.   The LENDERS made four short term loans to Plaintiff, more fully

described above in paragraphs 31 through 43, inclusive, the terms of which required daily

payments designed to pay the balance over the course of between 111 to 218 business

days, without disclosing that Defendants were charging interest rates between 0.3659%

daily and .9827% daily, or an imputed annual interest rate between 133% and 358%. As a



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result, each loan was usurious and unconscionable in violation of New York, Missouri,

and Federal law. In response to the tender of a total of $1,052,000, Plaintiff was to repay

a total of $1,437,523 within a total time period between August 2, 2021, when the first

loan proceeds were tendered, to November 14, 2022 when the final payment was made on

the last loan. This amounts to a period of approximately 15 months. The payments far

exceed what would have been paid under terms that included lawful interest, as showing

on Exhibits “6” through “9”, inclusive.

         115.   As a result, Plaintiff did not receive reasonably equivalent value for the

obligations imposed on Plaintiff by the Loan Documents.

         116.   The LENDERS withdrew the Loan Transfers and Commission Transfers

from the Plaintiff’s bank accounts within two years before the date of the filing of

Plaintiff’s Petition.

         117.   At the time the LENDERS withdrew the Loan Transfers from Plaintiff’s

bank account, Plaintiff was insolvent or became insolvent because of such transfers for

the following reasons:

         a.      At the time each loan was made, the sum of the Debtor’s liabilities, as

reflected in its balance sheets, was greater than the value of all of Plaintiff’s property at a

fair valuation. Attached as Exhibit 10 are copies of Plaintiff’s balance sheets at or near

the time of the loans. The balance sheets reflect that at in and around the time of each of

the loans, the value of the Debtor’s assets at fair value was less than the amount of its

debts;

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       b.       At the times of each of the loans, the Debtor was engaged in the business

of bidding, negotiating, entering into and providing construction services and labor on

construction projects. As part of this business, the Debtor maintained M&E, vehicles, had

employees for whom there were payroll costs including taxes. At the times of each of the

loans, the Plaintiffs’ remaining assets, as reflected in its balance sheets at the various

times, were unreasonably small in relation to the loans with the LENDERS. They were

unreasonably small because the loans called for large payments are frequent intervals and

these payments disrupted the Debtor’s ability to meet its other expenses; and

       c.       Plaintiff, in incurring the payment obligations under these four loans from

the LENDERS, found itself in a position where it could not pay the loans as the regular

payments came due. As a result of these loans, Plaintiff was forced to obtain other

financing, and go deeper into debt, in order to meet its obligations to the LENDERS.

       118.   The Plaintiff made the Loan Transfers at a time when Plaintiff owed money

to at least one creditor, and such creditor holds an unsecured claim that is allowable

pursuant to 11 U.S.C. § 502.

       119.   The Loan Transfers are avoidable pursuant to 11 U.S.C. § 548(a)(1)(B) and

the Uniform Voidable Transactions Act, N.Y. DEBT. & CRED. LAW §§ 270-280.

       120.   The Loan Transfers and Commission Transfers are avoidable pursuant to 11

U.S.C. § 548(a)(l)(B) and the Missouri Uniform Fraudulent Transfer Act, MO. REV.

STAT. § 428.024 and the Uniform Voidable Transactions Act, N.Y. DEBT. & CRED.

LAW §§ 270-280.

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       121.   Plaintiff is entitled to a judgment for relief in no less than the sums on

account of the Loan Transfers in the sum of $1,142,123 and in an amount according to

proof on account of the Commission Transfers.

       122.   Plaintiff is entitled to recover its attorney fees.

                             SIXTH CLAIM FOR RELIEF:

                  AVOIDANCE OF TRANSFERS - (11 U.S.C. § 544)
                        (AGAINST ALL DEFENDANTS)

       123.   Plaintiff alleges Paragraphs 1 through 43, inclusive, Paragraphs 45 through

64, inclusive, Paragraphs 66 through 81, inclusive, and Paragraphs 86 through 111 as

though fully stated in full herein.

       124.   The LENDERS made four short term loans to Plaintiff, more fully

described above in paragraphs 31 through 43, inclusive, the terms of which required daily

payments designed to pay the balance over the course of between 111 to 218 business

days, without disclosing that Defendants were charging interest rates between 0.3659%

daily and .9827% daily, or an imputed annual interest rate between 133% and 358%. As a

result, each loan was usurious and unconscionable in violation of New York, Missouri,

and Federal law. In response to the tender of a total of $1,052,000, Plaintiff was to repay

a total of $1,437.523 within a total time period between August 2, 2021, when the first

loan proceeds were tendered, to November 14, 2022 when the final payment was made on

the last loan. This amounts to a period of approximately 15 months. The payments far

exceed what would have been paid under terms that included lawful interest, as showing



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on Exhibits “6” through “9”, inclusive.

         125.   As a result, Plaintiff did not receive reasonably equivalent value for the

obligations imposed on Plaintiff by the Loan Documents.

         126.   The LENDERS withdrew the Loan Transfers and Commission Transfers

from the Plaintiff’s bank accounts within two years before the date of the filing of

Plaintiff’s Petition.

         127.   At the time the LENDERS withdrew the Loan Transfers from Plaintiff’s

bank account, Plaintiff was insolvent or became insolvent because of such transfers for

the following reasons:

         a.     At the time each loan was made, the sum of the Debtor’s liabilities, as

reflected in its balance sheets, was greater than the value of all of Plaintiff’s property at a

fair valuation. Attached as Exhibit 10 are copies of Plaintiff’s balance sheets at or near

the time of the loans. The balance sheets reflect that at in and around the time of each of

the loans, the value of the Debtor’s assets at fair value was less than the amount of its

debts;

         b.     At the times of each of the loans, the Debtor was engaged in the business

of bidding, negotiating, entering into and providing construction services and labor on

construction projects. As part of this business, the Debtor maintained M&E, vehicles, had

employees for whom there were payroll costs including taxes. At the times of each of the

loans, the Plaintiffs’ remaining assets, as reflected in its balance sheets at the various

times, were unreasonably small in relation to the loans with the LENDERS. They were

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unreasonably small because the loans called for large payments are frequent intervals and

these payments disrupted the Debtor’s ability to meet its other expenses; and

       c.     Plaintiff, in incurring the payment obligations under these four loans from

the LENDERS, found itself in a position where it could not pay the loans as the regular

payments came due. As a result of these loans, Plaintiff was forced to obtain other

financing, and go deeper into debt, in order to meet its obligations to the LENDERS.

       128.   The Plaintiff made the Loan Transfers at a time when Plaintiff owed money

to at least one creditor, and such creditor holds an unsecured claim that is allowable

pursuant to 11 U.S.C. § 502.

       129.   The Loan Transfers and Commission Transfers are avoidable pursuant to 11

U.S.C. § 544 and the Missouri Uniform Fraudulent Transfer Act, MO. REV. STAT. §

428.024 as well as the Uniform Voidable Transactions Act, N.Y. DEBT. & CRED. Law

§§ 270-280.

                            SEVENTH CLAIM FOR RELIEF

               PRESERVATION AND RECOVERY OF TRANSFERS
                            ( 11 U.S.C. § 550)
                      (AGAINST ALL DEFENDANTS)

       130.   Plaintiff alleges Paragraphs 1 through 43, inclusive, Paragraphs 45 through

64, inclusive, Paragraphs 66 through 81, inclusive, and Paragraphs 86 through 111 as

though fully stated in full herein.

       131.   The LENDERS made four short term loans to Plaintiff, more fully

described above in paragraphs 31 through 43, inclusive, the terms of which required daily

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payments designed to pay the balance over the course of between 111 to 218 business

days, without disclosing that Defendants were charging interest rates between 0.3659%

daily and .9827% daily, or an imputed annual interest rate between 133% and 358%. As a

result, each loan was usurious and unconscionable in violation of New York, Missouri,

and Federal law. In response to the tender of a total of $1,052,000, Plaintiff was to repay

a total of $1,437.523 within a total time period between August 2, 2021, when the first

loan proceeds were tendered, to November 14, 2022 when the final payment was made on

the last loan. This amounts to a period of approximately 15 months. The payments far

exceed what would have been paid under terms that included lawful interest, as showing

on Exhibits “6” through “9”, inclusive.

         132.   At the time the LENDERS withdrew the Loan Transfers from Plaintiff’s

bank account, Plaintiff was insolvent or became insolvent because of such transfers for

the following reasons:

         a.     At the time each loan was made, the sum of the Debtor’s liabilities, as

reflected in its balance sheets, was greater than the value of all of Plaintiff’s property at a

fair valuation. Attached as Exhibit 10 are copies of Plaintiff’s balance sheets at or near

the time of the loans. The balance sheets reflect that at in and around the time of each of

the loans, the value of the Debtor’s assets at fair value was less than the amount of its

debts;

         b.     At the times of each of the loans, the Debtor was engaged in the business

of bidding, negotiating, entering into and providing construction services and labor on

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construction projects. As part of this business, the Debtor maintained M&E, vehicles, had

employees for whom there were payroll costs including taxes. At the times of each of the

loans, the Plaintiffs’ remaining assets, as reflected in its balance sheets at the various

times, were unreasonably small in relation to the loans with the LENDERS. They were

unreasonably small because the loans called for large payments are frequent intervals and

these payments disrupted the Debtor’s ability to meet its other expenses; and

       c.     Plaintiff, in incurring the payment obligations under these four loans from

the LENDERS, found itself in a position where it could not pay the loans as the regular

payments came due. As a result of these loans, Plaintiff was forced to obtain other

financing, and go deeper into debt, in order to meet its obligations to the LENDERS.

       133.   Plaintiff is informed and believes and based thereon alleges that the

LENDERS are the initial transferee of the Loan Transfers, or the entity for whose benefit

the said Loan Transfers were made or is the immediate or mediate transferee of the initial

transferee receiving such Loan Transfers.

       134.   Pursuant to 11 U.S.C. § 550, the Plaintiff is entitled to recover the Loan

Transfers, together with interest thereon.

       135.   The Plaintiff is entitled to an order and judgment under 11 U.S.C. §§ 544,

547 and 548 as well as 11 U.S.C. §§ 550 and 551 that the Loan Transfers are avoidable

and recoverable and preserved for the benefit of the Plaintiff’s estate.

       136.   The Loan Transfers in the sum of $1,142,123 are avoidable pursuant to 11

U.S.C. § 548(a)(l)(B), MO. REV. STAT. § 428.024, NY DEBT. & CRED. LAW §§

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270-280.

       137.   Plaintiff moves to preserve and recover each transfer as provided by 11

U.S.C. §§ 550 and 551.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for a judgment as follows:

On its First Claim for Relief for Declaratory Relief:

       1.     For a judicial declaration that the transactions in the Loan Documents are

loans of money under applicable law;

On Plaintiff’s Second Claim for Relief for Fraud:

       2.     For a judgment for Plaintiff and against the LENDERS in the sum of

$1,142,123;

       3.     For recovery of the Commission Transfers paid to PMF because of the

Commission Transfers in a sum according to proof;

       4.     For recovery of the Commission Transfers paid to BOOST because of the

Commission Transfers in a sum according to proof;

       5.     Punitive damages in the sum of no less than $3,000,000.00 against the

LENDERS;

       6.     Punitive damages in the sum of no less than $100,000.00 against PMF;

       7.     Punitive damages in the sum of no less than $100,000.00 against BOOST;

On the Third Claim for Relief for RICO:

       8.     For a judgment against Defendants and each of them in the amount of the

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Plaintiff’s actual damages, and attorneys’ fees and costs as provided by law for no less

than $1,000,000.00, to be trebled as allowed by applicable law;

On the Fourth Claim for Relief Avoidance of Fraudulent Transfers:

       9.     For a judgment avoiding the Loan Transfers; and

       10.    For a judgment avoiding the Commission Transfers;

On Plaintiff’s Fifth Claim for Relief for Avoidance of Transfers:

       11.    For a judgment avoiding the Loan Transfers; and

       12.    For a judgment avoiding the Commission Transfers;

On the Sixth Claim for Relief for Preservation and Recovery of Transfers:

       13.    For a judgment preserving and recovering for the benefit of the estate the

avoidable transfers described in the Fourth and Fifth Claims for Relief as provided in 11

U.S.C. §§ 550 and 551;

On all Claims for Relief:

       14.    For costs incurred herein;

       15.    For attorney fees according to proof; and,

       16.    For such other and further relief as the Court deems just and proper.

Dated: April , 2025                        THE FOX LAW CORPORATION, INC.



                                           By: /s/ Steven R. Fox
                                           Steven R. Fox, CA State Bar No. 138808
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                                           Encino, California A 91316
                                           Tel: (818) 774-3545; Fax (818) 774-3707

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                                       By: /s/ Colin N. Gotham
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                                       Construction, LLC




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           Exhibit “2”       August 2, 2021 Loan Documents
           Exhibit “3”       December 7, 2021 Loan Documents
           Exhibit “4”       July 13, 2022 Loan Documents
           Exhibit “5”       August 5, 2022 Loan Documents
           Exhibit “6”       August 2nd Loan Transfers
           Exhibit “7”       December 7th Loan Transfers
           Exhibit “8”       July 13th Loan Transfers
           Exhibit “9”       August 5th Loan Transfers
           Exhibit “10”      Plaintiff’s Balance Sheets for 2020, 2021 2022




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ILQDQFLDOVWDWHPHQWVWD[UHWXUQVHWFDV:KLWH5RDGGHHPVQHFHVVDU\LQLWVVROHDQGDEVROXWHGLVFUHWLRQSULRUWRRUDWDQ\WLPHDIWHUH[HFXWLRQRIWKLV
$JUHHPHQW$SKRWRFRS\RIWKLVDXWKRUL]DWLRQZLOOEHGHHPHGDVDFFHSWDEOHDVDQDXWKRUL]DWLRQIRUUHOHDVHRIILQDQFLDODQGFUHGLWLQIRUPDWLRQ:KLWH
5RDGLVDXWKRUL]HGWRXSGDWHVXFKLQIRUPDWLRQDQGILQDQFLDODQGFUHGLWSURILOHVIURPWLPHWRWLPHDVLWGHHPVDSSURSULDWH0HUFKDQWDQG*XDUDQWRU V
DFNQRZOHGJHDQGDJUHHWKDWDOOLQIRUPDWLRQ ILQDQFLDODQGRWKHU SURYLGHGE\RURQEHKDOIRI0HUFKDQWDQG*XDUDQWRU V KDVEHHQUHOLHGXSRQWR:KLWH
5RDGLQFRQQHFWLRQZLWKLWVGHFLVLRQWRSXUFKDVHWKH6SHFLILHG$PRXQWRI)XWXUH5HFHLYDEOHVIURP0HUFKDQW

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IXWXUHSURFHVVRURI0HUFKDQWLWVSUHGHFHVVRUVRUDIILOLDWHVWRREWDLQDQ\LQIRUPDWLRQWKDW:KLWH5RDGGHHPVQHFHVVDU\RUDSSURSULDWHUHJDUGLQJDQ\RI
WKHLUWUDQVDFWLRQVZLWKVXFKSURFHVVRUVDQG LL DXWKRUL]HVDQGGLUHFWVVXFKSURFHVVRUVWRSURYLGH:KLWH5RDGZLWKDOOVXFKLQIRUPDWLRQLQFRPSOLDQFH
ZLWKWKLV6HFWLRQ6XFKLQIRUPDWLRQPD\LQFOXGHLQIRUPDWLRQWRYHULI\WKHDPRXQWRI&DUGUHFHLYDEOHVSUHYLRXVO\SURFHVVHGRQEHKDOIRI0HUFKDQWLWV
SUHGHFHVVRUVRUDIILOLDWHVDQGDQ\DPRXQWVWKDWPD\KDYHEHHQSDLGWRRIIVHWKHOGRUUHYHUVHGE\VXFKSURFHVVRUV:LWKRXWOLPLWLQJWKHJHQHUDOLW\RIWKH
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GLUHFWRUVDIILOLDWHVHPSOR\HHVDJHQWVUHSUHVHQWDWLYHVDQGVKDUHKROGHUVDJDLQVWDOOORVVHVGDPDJHVFODLPVOLDELOLWLHVDQGH[SHQVHV LQFOXGLQJUHDVRQDEOH
DWWRUQH\¶VIHHV VXIIHUHGRULQFXUUHGE\3URFHVVRURU2SHUDWRUUHVXOWLQJIURP D FODLPVDVVHUWHGE\:KLWH5RDGIRUPRQLHVRZHGWR:KLWH5RDGIURP
0HUFKDQWDQG E DFWLRQVWDNHQE\3URFHVVRULQUHOLDQFHXSRQDQ\IUDXGXOHQWPLVOHDGLQJRUGHFHSWLYHLQIRUPDWLRQRULQVWUXFWLRQVSURYLGHGE\:KLWH
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FRQVHTXHQWLDOGDPDJHVHDFKRIZKLFKLVZDLYHGE\ERWK0HUFKDQWDQG*XDUDQWRU V ,QWKHHYHQWWKHVHFODLPVDUHQRQHWKHOHVVUDLVHG0HUFKDQWDQG
*XDUDQWRUVZLOOEHMRLQWO\OLDEOHIRUDOORI:KLWH5RDG¶VOHJDOIHHVDQGH[SHQVHVUHVXOWLQJWKHUHIURP

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QRWZLWKVWDQGLQJWKHIDFWWKDW3URFHVVRULVQRWDSDUW\RIWKLV$JUHHPHQW3URFHVVRUPD\UHO\XSRQWKHLUWHUPVDQGUDLVHWKHPDVDGHIHQVHLQDQ\DFWLRQ

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VXFK3XUFKDVH3ULFHLVQRWLQWHQGHGWREHQRUVKDOOLWEHFRQVWUXHGDVDORDQIURP:KLWH5RDGWR0HUFKDQW0HUFKDQWDJUHHVWKDWWKH3XUFKDVH3ULFHLVLQ
H[FKDQJHIRUWKH5HFHLSWVSXUVXDQWWRWKLV$JUHHPHQWDQGWKDWLWHTXDOVWKHIDLUPDUNHWYDOXHRIVXFK5HFHLSWV:KLWH5RDGKDVSXUFKDVHGDQGVKDOORZQ
DOOWKH5HFHLSWVGHVFULEHGLQWKLV$JUHHPHQWXSWRWKHIXOO3XUFKDVHG$PRXQWDVWKH5HFHLSWVDUHFUHDWHG3D\PHQWVPDGHWR:KLWH5RDGLQUHVSHFWWRWKH
IXOODPRXQWRIWKH5HFHLSWVVKDOOEHFRQGLWLRQHGXSRQ0HUFKDQW¶VVDOHRISURGXFWVDQGVHUYLFHVDQGWKHSD\PHQWWKHUHIRUHE\0HUFKDQW¶VFXVWRPHUVLQWKH
PDQQHUSURYLGHGLQ6HFWLRQ,QQRHYHQWVKDOOWKHDJJUHJDWHRIDOODPRXQWVRUDQ\SRUWLRQWKHUHRIEHGHHPHGDVLQWHUHVWKHUHXQGHUDQGLQWKHHYHQWLW
LVIRXQGWREHLQWHUHVWGHVSLWHWKHSDUWLHVKHUHWRVSHFLILFDOO\UHSUHVHQWLQJWKDWLWLV127LQWHUHVWLWVKDOOEHIRXQGWKDWQRVXPFKDUJHGRUFROOHFWHG
KHUHXQGHUVKDOOH[FHHGWKHKLJKHVWUDWHSHUPLVVLEOHDWODZ,QWKHHYHQWWKDWDFRXUWQRQHWKHOHVVGHWHUPLQHVWKDW:KLWH5RDGKDVFKDUJHGRUUHFHLYHG
LQWHUHVWKHUHXQGHULQH[FHVVRIWKHKLJKHVWDSSOLFDEOHUDWHWKHUDWHLQHIIHFWKHUHXQGHUVKDOODXWRPDWLFDOO\EHUHGXFHGWRWKHPD[LPXPUDWHSHUPLWWHGE\
DSSOLFDEOHODZDQG:KLWH5RDGVKDOOSURPSWO\UHIXQGWR0HUFKDQWDQ\LQWHUHVWUHFHLYHGE\:KLWH5RDGLQH[FHVVRIWKHPD[LPXPODZIXOUDWHLWEHLQJ
LQWHQGHGWKDW0HUFKDQWQRWSD\RUFRQWUDFWWRSD\DQGWKDW:KLWH5RDGQRWUHFHLYHRUFRQWUDFWWRUHFHLYHGLUHFWO\RULQGLUHFWO\LQDQ\PDQQHUZKDWVRHYHU
LQWHUHVWLQH[FHVVRIWKDWZKLFKPD\EHSDLGE\0HUFKDQWXQGHUDSSOLFDEOHODZ0HUFKDQWLVQRWDGHEWRUWR:KLWH5RDGDVRIWKHGDWHRIWKLV$JUHHPHQW
$VDUHVXOWWKHUHRI0HUFKDQWNQRZLQJO\DQGZLOOLQJO\ZDLYHVWKHGHIHQVHRI8VXU\LQDQ\DFWLRQRUSURFHHGLQJ

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LQVWUXPHQWRUGRFXPHQWWRVHWWOHDOOREOLJDWLRQVGXHWR:KLWH5RDGIURP3URFHVVRURULQWKHFDVHRIDYLRODWLRQE\0HUFKDQWRI6HFWLRQRUWKH
RFFXUUHQFHRIDQ(YHQWRI'HIDXOWXQGHU6HFWLRQKHUHRIIURP0HUFKDQWXQGHUWKLV$JUHHPHQWLQFOXGLQJZLWKRXWOLPLWDWLRQ L WRREWDLQDQGDGMXVW
LQVXUDQFH LL WRFROOHFWPRQLHVGXHRUWREHFRPHGXHXQGHURULQUHVSHFWRIDQ\RIWKH&ROODWHUDO LLL WRUHFHLYHHQGRUVHDQGFROOHFWDQ\FKHFNVQRWHV
GUDIWVLQVWUXPHQWVGRFXPHQWVRUFKDWWHOSDSHULQFRQQHFWLRQZLWKFODXVH L RUFODXVH LL DERYH LY WRVLJQ0HUFKDQW¶VQDPHRQDQ\LQYRLFHELOORI
ODGLQJRUDVVLJQPHQWGLUHFWLQJFXVWRPHUVRUDFFRXQWGHEWRUVWRPDNHSD\PHQWGLUHFWO\WR:KLWH5RDGDQG Y WRILOHDQ\FODLPVRUWDNHDQ\DFWLRQRU
LQVWLWXWHDQ\SURFHHGLQJZKLFK:KLWH5RDGPD\GHHPQHFHVVDU\IRUWKHFROOHFWLRQRIDQ\RIWKHXQSDLG3XUFKDVHG$PRXQWIURPWKH&ROODWHUDORU
RWKHUZLVHWRHQIRUFHLWVULJKWVZLWKUHVSHFWWRSD\PHQWRIWKH3XUFKDVHG$PRXQW,QFRQQHFWLRQWKHUHZLWKDOOFRVWVH[SHQVHVDQGIHHVLQFOXGLQJOHJDO
IHHVVKDOOEHSD\DEOHE\DQGIURP0HUFKDQWDQG:KLWH5RDGLVDXWKRUL]HGWRXVH0HUFKDQW¶VIXQGVWRSD\IRUVDPH,QDGGLWLRQWRDQ\RWKHUUHPHGLHV
DYDLODEOHIRUYLRODWLRQRIWKH0HUFKDQW¶V&RQWUDFWXDO&RYHQDQWVLQWKHHYHQWWKDW0HUFKDQWFKDQJHVRUSHUPLWVWKHFKDQJHRIWKH3URFHVVRUDFFHSWHGE\
:KLWH5RDGRUXWLOL]HVWKHVHUYLFHVRIDQDGGLWLRQDO3URFHVVRU:KLWH5RDGVKDOOKDYHWKHULJKWZLWKRXWZDLYLQJDQ\RILWVULJKWVRUUHPHGLHVDQGZLWKRXW
QRWLFHWR0HUFKDQWRU3ULQFLSDO V WRQRWLI\WKHQHZRUDGGLWLRQDO3URFHVVRURIWKHVDOHRIWKH6SHFLILHG$PRXQWRI)XWXUH5HFHLYDEOHVKHUHXQGHUDQGWR
GLUHFWVXFKQHZRUDGGLWLRQDO3URFHVVRUWRPDNHSD\PHQWWR:KLWH5RDGRIDOORUDQ\SRUWLRQRIWKHDPRXQWVUHFHLYHGRUKHOGE\VXFK3URFHVVRUIRURURQ
EHKDOIRI0HUFKDQWWRSD\DQ\DPRXQWV:KLWH5RDGLVHQWLWOHGWRUHFHLYHKHUHXQGHU0HUFKDQWKHUHE\JUDQWV:KLWH5RDGDQLUUHYRFDEOHSRZHURI
DWWRUQH\ZKLFKSRZHURIDWWRUQH\VKDOOEHFRXSOHGZLWKDQLQWHUHVWDQGKHUHE\DSSRLQWV:KLWH5RDGDQGLWVGHVLJQHHVDV0HUFKDQW¶VDWWRUQH\LQIDFWWR
WDNHDQ\DQGDOODFWLRQVQHFHVVDU\DQGDSSURSULDWHWRGLUHFWVXFKQHZRUDGGLWLRQDO3URFHVVRUWRPDNHSD\PHQWWR:KLWH5RDGDVFRQWHPSODWHGE\WKLV
6HFWLRQ0HUFKDQWIXUWKHUKHUHE\JUDQWV:KLWH5RDGDQLUUHYRFDEOHSRZHURIDWWRUQH\ZKLFKSRZHURIDWWRUQH\VKDOOEHFRXSOHGZLWKDQLQWHUHVWDQG
KHUHE\DSSRLQWV:KLWH5RDGDQGLWVGHVLJQHHVDV0HUFKDQW¶VDWWRUQH\LQIDFWWRH[HFXWHDQ\DOOGRFXPHQWVLQWKH0HUFKDQW¶VQDPHVXIILFLHQWWRSURYLGH
DQGSHUIHFWDQ\VHFXULW\LQWHUHVWJUDQWHGE\0HUFKDQWWR:KLWH5RDGKHUHXQGHULQFOXGLQJEXWQRWOLPLWHGWRVHFXULW\LQWHUHVWVLQPRWRUYHKLFOHVDQGUHDO
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RFFXUWKDWFRXOGKDYHDQDGYHUVHHIIHFWRQWKHXVHDFFHSWDQFHRUDXWKRUL]DWLRQRIFKHFNVRURWKHUSD\PHQWVRUGHSRVLWVIRUWKHSXUFKDVHRI0HUFKDQW¶V
VHUYLFHVDQGSURGXFWVLQFOXGLQJEXWQRWOLPLWHGWRGLUHFWGHSRVLWRIDQ\FKHFNVLQWRDEDQNDFFRXQWZLWKRXWVFDQQLQJLQWRWKH:KLWH5RDGHOHFWURQLFFKHFN
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FRXOGFDXVHGLYHUVLRQRIDQ\RI0HUFKDQW¶VFKHFNRUGHSRVLWWUDQVDFWLRQVWRDQRWKHUSURFHVVRURUDQXQDXWKRUL]HGGHSRVLWRU\DFFRXQW G 0HUFKDQW
LQWHUUXSWVWKHRSHUDWLRQRIWKLVEXVLQHVV RWKHUWKDQDGYHUVHZHDWKHUQDWXUDOGLVDVWHUVRUDFWVRI*RG WUDQVIHUVPRYHVVHOOVGLVSRVHVRURWKHUZLVH
FRQYH\VLWVEXVLQHVVDQGRUDVVHWVZLWKRXW L WKHH[SUHVVSULRUZULWWHQFRQVHQWRI:KLWH5RDGDQG LL WKHZULWWHQDJUHHPHQWRIDQ\SXUFKDVHURU
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RUWKHJUDQWLQJRIDQ\VHFXULW\LQWHUHVWLQWKH5HFHLSWVRUDQ\SRUWLRQWKHUHRI7KHVHSURWHFWLRQVDUHLQDGGLWLRQWRDQ\RWKHUUHPHGLHVDYDLODEOHWR:KLWH
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EHFRPHGXHDQGSD\DEOHLQIXOOLPPHGLDWHO\

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5RDGLQWKHDPRXQWRI3XUFKDVH$PRXQWVWDWHGLQWKH$JUHHPHQW8SRQEUHDFKRIDQ\SURYLVLRQLQWKLVSDUDJUDSK:KLWH5RDGPD\ZLWKRXWIXUWKHU
QRWLFHHQWHUMXGJPHQWDJDLQVW0HUFKDQW V DQG2ZQHU V *XDUDQWRU V ZLWKWKHMXGJPHQWFOHUNRIDQ\DSSURSULDWHFRXUWEDVHGXSRQWKHDIILGDYLW V RI
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3URWHFWLRQ:KLWH5RDGPD\HQIRUFHLWVVHFXULW\LQWHUHVWLQWKH&ROODWHUDOLGHQWLILHGLQWKH6HFXULW\$JUHHPHQWKHUHRI

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3URWHFWLRQ:KLWH5RDGPD\SURFHHGWRSURWHFWDQGHQIRUFHLWVULJKWVDQGUHPHGLHVE\ODZVXLW,QDQ\VXFKODZVXLWXQGHUZKLFK:KLWH5RDGVKDOO
UHFRYHU-XGJPHQWDJDLQVW0HUFKDQW0HUFKDQWVKDOOEHOLDEOHIRUDOORI:KLWH5RDG¶VFRVWVRIWKHODZVXLWLQFOXGLQJEXWQRWOLPLWHGWRDOOUHDVRQDEOH
DWWRUQH\V¶IHHVDQGFRXUWFRVWV:KLWH5RDGUHVHUYHVWKHULJKWWRDSSO\DPRXQWVUHFHLYHGE\LWXQGHUWKLV$JUHHPHQWWRDQ\IHHVRURWKHUFKDUJHVGXHWR
:KLWH5RDGIURP0HUFKDQWSULRUWRDSSO\LQJVXFKDPRXQWVWRUHGXFHWKHDPRXQWRIDQ\RXWVWDQGLQJ3XUFKDVH$PRXQW

3URWHFWLRQ7KLV$JUHHPHQWVKDOOEHGHHPHG0HUFKDQWV$VVLJQPHQWRI0HUFKDQW¶V/HDVHRI0HUFKDQW¶VEXVLQHVVSUHPLVHVWR:KLWH5RDG8SRQ
EUHDFKRIDQ\SURYLVLRQLQWKLV$JUHHPHQW:KLWH5RDGPD\H[HUFLVHLWVULJKWVXQGHUWKLV$VVLJQPHQWRI/HDVHZLWKRXWSULRU1RWLFHWR0HUFKDQW

3URWHFWLRQ:KLWH5RDGPD\GHELW0HUFKDQW¶VGHSRVLWRU\DFFRXQWVZKHUHYHUVLWXDWHGE\PHDQVRI$&+GHELWRUIDFVLPLOH:KLWH5RDGRQD
FRPSXWHUJHQHUDWHGFKHFNGUDZQRQ0HUFKDQW¶VEDQNDFFRXQWRURWKHUZLVHIRUDOOVXPVGXHWR:KLWH5RDG

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KLPVHOIRUKHUVHOISHUVRQDOO\DXWKRUL]HV:KLWH5RDGLWVDJHQWVDQGHPSOR\HHVWRREWDLQDQGGLVFORVHLQIRUPDWLRQFRQFHUQLQJ0HUFKDQW¶VDQGHDFK
2ZQHU¶VDQGHDFK*XDUDQWRU¶VFUHGLWVWDQGLQJ LQFOXGLQJFUHGLWEXUHDXUHSRUWVWKDW:KLWH5RDGREWDLQV DQGEXVLQHVVFRQGXFWRQO\WRLWHPSOR\HHV
DJHQWVDIILOLDWHVVXEVLGLDULHVDQGFUHGLWUHSRUWLQJEXUHDXV0HUFKDQWDQGHDFK2ZQHUDQGHDFK*XDUDQWRUKHUHE\DQGHDFKZDLYHVWRWKHPD[LPXP
H[WHQWSHUPLWWHGE\ODZDQ\FODLPIRUGDPDJHVDJDLQVW:KLWH5RDGRUDQ\RILWVDIILOLDWHVUHODWLQJWRDQ\ L LQYHVWLJDWLRQXQGHUWDNHQE\RURQEHKDOIRI
:KLWH5RDGDVSHUPLWWHGE\WKLV$JUHHPHQWRU LL GLVFORVXUHRILQIRUPDWLRQDVSHUPLWWHGE\WKLV$JUHHPHQW

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$JUHHPHQWDQGDQ\RWKHU:KLWH5RDGGRFXPHQWDWLRQV FROOHFWLYHO\³&RQILGHQWLDO,QIRUPDWLRQ´ DUHSURSULHWDU\DQGFRQILGHQWLDOLQIRUPDWLRQRI:KLWH
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RWKHUWKDQDQDWWRUQH\DFFRXQWDQWILQDQFLDODGYLVRURUHPSOR\HHRI0HUFKDQWZKRQHHGVWRNQRZVXFKLQIRUPDWLRQIRUWKHSXUSRVHRIDGYLVLQJ0HUFKDQW
 ³$GYLVRU´ SURYLGHGVXFK$GYLVRUXVHVVXFKLQIRUPDWLRQVROHO\IRUWKHSXUSRVHRIDGYLVLQJ0HUFKDQWDQGILUVWDJUHHVLQZULWLQJWREHERXQGE\WKHWHUPV
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PDWWHUVUHODWLQJWRWKHWUDQVDFWLRQEHWZHHQ:KLWH5RDGDQG0HUFKDQWLQFOXGLQJWKHILOLQJRI8&&ILQDQFLQJVWDWHPHQWVDQGRWKHUQRWLFHVRUILOLQJV

3XUFKDVHRI,QFUHPHQWV,QWKHHYHQWWKDW:KLWH5RDGRIIHUVWRSXUFKDVHDGGLWLRQDO5HFHLSWVLQWKHLQFUHPHQWV VWDWHGRQ$WWDFKPHQW$RIWKLV
$JUHHPHQWWKHQ:KLWH5RDGUHVHUYHVWKHXQLODWHUDOULJKWWRGHOD\RUUHVFLQGVXFKRIIHULQLWVVROHDQGDEVROXWHGLVFUHWLRQDWDQ\WLPH

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0HUFKDQWUHSUHVHQWVZDUUDQWVDQGFRYHQDQWVWKDWDVRIWKLVGDWHDQGGXULQJWKHWHUPRIWKLV$JUHHPHQWDQGXQWLO:KLWH5RDGLVIXOO\SDLG
)LQDQFLDO&RQGLWLRQDQG)LQDQFLDO,QIRUPDWLRQ0HUFKDQW¶VDQG*XDUDQWRUV¶EDQNDQGILQDQFLDO6WDWHPHQWVFRSLHVRIZKLFKKDYHEHHQIXUQLVKHGWR
:KLWH5RDGDQGIXWXUHVWDWHPHQWVZKLFKZLOOEHIXUQLVKHGKHUHDIWHUDWWKHGLVFUHWLRQRI:KLWH5RDGIDLUO\UHSUHVHQWWKHILQDQFLDOFRQGLWLRQRI0HUFKDQW
DWVXFKGDWHVDQGVLQFHWKRVHGDWHVWKHUHKDVEHHQQRPDWHULDODGYHUVHFKDQJHVILQDQFLDORURWKHUZLVHLQVXFKFRQGLWLRQRSHUDWLRQRURZQHUVKLSRI
0HUFKDQW0HUFKDQWDQG*XDUDQWRUVKDYHDFRQWLQXLQJDIILUPDWLYHREOLJDWLRQWRDGYLVH:KLWH5RDGRIDQ\PDWHULDODGYHUVHFKDQJHLQWKHLUILQDQFLDO
FRQGLWLRQRSHUDWLRQRURZQHUVKLS0HUFKDQWKHUHE\ZDUUDQWVWKDWLWV$YHUDJH0RQWKO\5HYHQXHDVHQXPHUDWHGRQSDJH  RIWKLV$JUHHPHQWLVDFFXUDWH
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GXULQJWKHSHUIRUPDQFHRIWKLV$JUHHPHQWDQGWKH0HUFKDQWDQG*XDUDQWRUVVKDOOSURYLGHWKHPWR:KLWH5RDGZLWKLQEXVLQHVVGD\V0HUFKDQW¶VRU
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*RYHUQPHQWDO$SSURYDOV0HUFKDQWLVLQFRPSOLDQFHDQGVKDOOFRPSO\ZLWKDOOODZVDQGKDVYDOLGSHUPLWVDXWKRUL]DWLRQVDQGOLFHQVHVWRRZQ
RSHUDWHDQGOHDVHLWVSURSHUWLHVDQGWRFRQGXFWWKHEXVLQHVVLQZKLFKLWLVSUHVHQWO\HQJDJHGDQGRUZLOOHQJDJHLQKHUHDIWHU

$XWKRUL]DWLRQ0HUFKDQWDQGWKHSHUVRQ V VLJQLQJWKLV$JUHHPHQWRQEHKDOIRI0HUFKDQWKDYHIXOOSRZHUDQGDXWKRULW\WRLQFXUDQGSHUIRUPWKH
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,QVXUDQFH0HUFKDQWZLOOPDLQWDLQEXVLQHVVLQWHUUXSWLRQLQVXUDQFHQDPLQJ:KLWH5RDGDVORVVSD\HHDQGDGGLWLRQDOLQVXUHGLQDPRXQWVDQGDJDLQVW
ULVNVDVDUHVDWLVIDFWRU\WR:KLWH5RDGDQGVKDOOSURYLGH:KLWH5RDGSURRIRIVXFKLQVXUDQFHXSRQUHTXHVW0HUFKDQWVKDOODOVRPDLQWDLQVXFKRWKHU
LQVXUDQFHLQVXFKDPRXQWVDQGDJDLQVWVXFKULVNVDV:KLWH5RDGGHHPVQHFHVVDU\WRSURWHFW0HUFKDQW¶VEXVLQHVVDQG0HUFKDQWVKDOOSURYLGHSURRIRI
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WDNHDQ\RWKHUDFWLRQWKDWFRXOGKDYHDQ\DGYHUVHHIIHFWXSRQ0HUFKDQW¶VREOLJDWLRQVXQGHUWKLV$JUHHPHQWZLWKRXW:KLWH5RDG¶VSULRUZULWWHQFRQVHQW
$Q\VXFKFKDQJHVVKDOOEHDPDWHULDOEUHDFKRIWKLV$JUHHPHQW

&KDQJHRI1DPHRU/RFDWLRQDQG5HODWHG(QWLWLHV0HUFKDQWZLOOQRWFRQGXFW0HUFKDQW¶VEXVLQHVVHVXQGHUDQ\QDPHRWKHUWKDQDVGLVFORVHGWRWKH
3URFHVVRUDQG:KLWH5RDGQRUVKDOO0HUFKDQWFKDQJHDQ\RILWVSODFHVRIEXVLQHVVZLWKRXWSULRUZULWWHQFRQVHQWE\:KLWH5RDG0HUFKDQWGRHVQRWDQG
VKDOOQRWFRQGXFW0HUFKDQW¶VEXVLQHVVXQGHUDQ\QDPHRWKHUWKDQDVVHWIRUWKLQWKLVDJUHHPHQWDQGVKDOOQRWFKDQJHLWVSODFHRIEXVLQHVV0HUFKDQWVKDOO
QRWFKDQJHLWVOHJDOQDPHHQWLW\W\SHRUMXULVGLFWLRQRIRUJDQL]DWLRQ,QWKHHYHQW0HUFKDQWDQ\RILWVRIILFHUVRUGLUHFWRUVRUDQ\2ZQHU*XDUDQWRU
GXULQJWKHWHUPRIWKLVDJUHHPHQWRUZKLOH0HUFKDQWUHPDLQVOLDEOHWR:KLWH5RDGIRUDQ\REOLJDWLRQVXQGHUWKLVDJUHHPHQWGLUHFWO\RULQGLUHFWO\
LQFOXGLQJDFWLQJE\WKURXJKRULQFRQMXQFWLRQZLWKDQ\RWKHUSHUVRQFDXVHVWREHIRUPHGDQHZHQWLW\RWKHUZLVHEHFRPHVDVVRFLDWHGZLWKDQ\QHZRU
H[LVWLQJHQWLW\RUZDVDQGRULVDVVRFLDWHGZLWKDQH[LVWLQJHQWLW\ZKHWKHUFRUSRUDWHSDUWQHUVKLSOLPLWHGOLDELOLW\FRPSDQ\RURWKHUZLVHZKLFKRSHUDWHV
DEXVLQHVVVLPLODUWRRUFRPSHWLWLYHZLWKWKDWRI0HUFKDQWVXFKHQWLW\VKDOOEHGHHPHGWRKDYHH[SUHVVO\DVVXPHGWKHREOLJDWLRQVGXH:KLWH5RDGXQGHU
WKLV$JUHHPHQW:LWKUHVSHFWWRDQ\VXFKHQWLW\:KLWH5RDGVKDOOKDYHWKHULJKWWRQDPHVXFKQHZO\IRUPHGRUH[LVWLQJHQWLW\DVDGHEWRULQDQ\FODLP
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0HUFKDQWH[HFXWHDFNQRZOHGJHDQGGHOLYHUWR:KLWH5RDGDQGRUWRDQ\RWKHUSHUVRQILUPRUFRUSRUDWLRQVSHFLILHGE\:KLWH5RDGDVWDWHPHQW
FHUWLI\LQJWKDWWKLV$JUHHPHQWLVXQPRGLILHGDQGLQIXOOIRUFHDQGHIIHFW RULIWKHUHKDYHEHHQPRGLILFDWLRQVWKDWWKHVDPHLVLQIXOOIRUFHDQGHIIHFWDV
PRGLILHGDQGVWDWLQJWKHPRGLILFDWLRQV DQGVWDWLQJWKHGDWHVZKLFKWKH3XUFKDVHG$PRXQWRUDQ\SRUWLRQWKHUHRIKDVEHHQUHSDLG

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EDQNUXSWF\SURWHFWLRQXQGHU7LWOHRIWKH8QLWHG6WDWHV&RGHDQGWKHUHKDVEHHQQRLQYROXQWDU\SHWLWLRQEURXJKWRUSHQGLQJDJDLQVW
0HUFKDQW0HUFKDQWIXUWKHUZDUUDQWVWKDWLWGRHVQRWDQWLFLSDWHILOLQJDQ\VXFKEDQNUXSWF\SHWLWLRQDQGLWGRHVQRWDQWLFLSDWHWKDWDQ
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IXWXUHFKHFNVDOHVRUDQ\SRUWLRQWKHUHRIZKHWKHULQWKHIRUPRIDSXUFKDVHVDOHDORDQDJDLQVWFROODWHUDODJDLQVWRUWKHVDOHRUSXUFKDVHRIFUHGLWV
DJDLQVWVXFK5HFHLSWVRUIXWXUHFKHFNVDOHVZLWKDQ\SDUW\RWKHUWKDQ:KLWH5RDG:KLWH5RDGPD\VKDUHLQIRUPDWLRQUHJDUGLQJWKLV0HUFKDQW
$JUHHPHQWZLWKDQ\WKLUGSDUW\LQRUGHUWRGHWHUPLQHZKHWKHU0HUFKDQWLVLQFRPSOLDQFHZLWKWKLVSURYLVLRQ

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FOHDURIDQ\DQGDOOOLDELOLWLHVOLHQVFODLPVFKDQJHVUHVWULFWLRQVFRQGLWLRQVRSWLRQVULJKWVPRUWJDJHVVHFXULW\LQWHUHVWVHTXLWLHVSOHGJHVDQG
HQFXPEUDQFHVRIDQ\NLQGRUQDWXUHZKDWVRHYHURUDQ\RWKHUULJKWVRULQWHUHVWVWKDWPD\EHLQFRQVLVWHQWZLWKWKHWUDQVDFWLRQVFRQWHPSODWHGZLWKRU
DGYHUVHWRWKHLQWHUHVWVRI:KLWH5RDG:LWKRXWOLPLWLQJWKHJHQHUDOLW\RIWKHIRUHJRLQJDOOIXWXUH5HFHLSWVSXUFKDVHGE\:KLWH5RDGKHUHXQGHUVKDOOEH
IUHHDQGFOHDURIDQ\DQGDOOOLHQV RWKHUWKDQ:KLWH5RDG¶VRZQHUVKLSULJKWVWKHUHLQ DWWKHWLPHWKH\EHFRPH5HFHLYDEOHV$OODPRXQWVUHFHLYHGE\:KLWH
5RDGDWWULEXWDEOHWRWKH6SHFLILHG$PRXQWRI)XWXUH5HFHLYDEOHVSXUFKDVHGE\:KLWH5RDGKHUHXQGHUVKDOODULVHIURPERQDILGHVDOHVE\0HUFKDQWRILWV
JRRGVDQGVHUYLFHVWR&DUGKROGHUVZKRSUHVHQWWKHLU&DUGVDVSD\PHQWWKHUHRI

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'HIDXOWVXQGHU2WKHU&RQWUDFWV0HUFKDQW¶VH[HFXWLRQRIDQGRUSHUIRUPDQFHXQGHUWKLV$JUHHPHQWZLOOQRWFDXVHRUFUHDWHDQHYHQWRIGHIDXOW
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H[SHQGLWV%HVW(IIRUWVWRPDLQWDLQDQGJURZLWVEXVLQHVVWRHQVXUHWKDW:KLWH5RDGREWDLQVWKH3XUFKDVHG$PRXQW)XUWKHUPRUH0HUFKDQWDQG
*XDUDQWRUVKHUHE\DJUHHZDUUDQWDQGUHSUHVHQWKHUHE\WKDWWKH\ZLOOFRQVWDQWO\SHUIRUPDOODSSURSULDWH'XH'LOLJHQFHDQGFUHGLWFKHFNVRIDOORIWKH
FXVWRPHUV¶ILQDQFHVFDVKIORZVROYHQF\JRRGIDLWKSD\PHQWKLVWRULHVDQGEXVLQHVVUHSXWDWLRQV WKH³'XH'LOLJHQFH5HTXLUHPHQWV´ DVPD\VXIILFHWR
HQVXUHDQ\DQGDOOSURGXFWVDQGRUVHUYLFHVSURYLGHGVROGRUGHOLYHUHGE\0HUFKDQWWRVDLGFXVWRPHUVZLOOEHSDLGIRUE\FXVWRPHUVLQIXOODQGRQWLPH
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UHSHDWHGQROHVVIUHTXHQWO\WKDQPRQWKO\IRUVRORQJDVDQ\VXPVDUHGXHIURPWKRVHFXVWRPHUV)XOOGRFXPHQWDWLRQRIDOORI0HUFKDQW¶VFRPSOLDQFHZLWK
LWV'XH'LOLJHQFH5HTXLUHPHQWVPXVWEHPDLQWDLQHGLQ0HUFKDQW¶VILOHVVRORQJDV:KLWH5RDGKDVQRWIXOO\FROOHFWHGDOOVXPVGXHWRLW7KLVLVQRWD
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&RQVHQWWR(QWHU3UHPLVHVDQG$VVLJQ/HDVH:KLWH5RDGVKDOOKDYHWKHULJKWWRFXUH0HUFKDQW¶VGHIDXOWLQWKHSD\PHQWRIUHQWRQWKHIROORZLQJWHUPV
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   'R\RXFXUUHQWO\RUZLWKLQWKHODVWGD\VKDYHDQ\LQWHQWLRQVSODQVRUGLVFXVVLRQVUHJDUGLQJFORVLQJ\RXU%XVLQHVV"
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SURFHVVRUWRGLVFXVVFRQILGHQWLDODFFRXQWLQIRUPDWLRQIRUWKHSXUSRVHRIVDWLVI\LQJWKHUHTXLUHPHQWVRI:KLWH5RDG&DSLWDO//&6HULHV
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7RDGYLVH*OREDO)XQGLQJ([SHUWVRI\RXUQHZHPDLODGGUHVV

7ROHWXVNQRZRIDFKDQJHLQ\RXUHPDLODGGUHVVZKHUHZHVKRXOGVHQGQRWLFHVDQGGLVFORVXUHV
HOHFWURQLFDOO\WR\RX\RXPXVWVHQGDQHPDLOPHVVDJHWRXV
DWXQGHUZULWLQJ#JOREDOIXQGLQJH[SHUWVFRPDQGLQWKHERG\RIVXFKUHTXHVW\RXPXVWVWDWH\RXU
SUHYLRXVHPDLODGGUHVV\RXUQHZHPDLODGGUHVV:HGRQRWUHTXLUHDQ\RWKHULQIRUPDWLRQIURP
\RXWRFKDQJH\RXUHPDLODGGUHVV

,I\RXFUHDWHGD'RFX6LJQDFFRXQW\RXPD\XSGDWHLWZLWK\RXUQHZHPDLODGGUHVVWKURXJK\RXU
DFFRXQWSUHIHUHQFHV


7RUHTXHVWSDSHUFRSLHVIURP*OREDO)XQGLQJ([SHUWV

7RUHTXHVWGHOLYHU\IURPXVRISDSHUFRSLHVRIWKHQRWLFHVDQGGLVFORVXUHVSUHYLRXVO\SURYLGHG
E\XVWR\RXHOHFWURQLFDOO\\RXPXVWVHQGXVDQHPDLO
WRXQGHUZULWLQJ#JOREDOIXQGLQJH[SHUWVFRPDQGLQWKHERG\RIVXFKUHTXHVW\RXPXVWVWDWH\RXU
HPDLODGGUHVVIXOOQDPHPDLOLQJDGGUHVVDQGWHOHSKRQHQXPEHU:HZLOOELOO\RXIRUDQ\IHHVDW
WKDWWLPHLIDQ\


7RZLWKGUDZ\RXUFRQVHQWZLWK*OREDO)XQGLQJ([SHUWV

7RLQIRUPXVWKDW\RXQRORQJHUZLVKWRUHFHLYHIXWXUHQRWLFHVDQGGLVFORVXUHVLQHOHFWURQLF
IRUPDW\RXPD\
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LGHFOLQHWRVLJQDGRFXPHQWIURPZLWKLQ\RXUVLJQLQJVHVVLRQDQGRQWKHVXEVHTXHQWSDJH
VHOHFWWKHFKHFNER[LQGLFDWLQJ\RXZLVKWRZLWKGUDZ\RXUFRQVHQWRU\RXPD\

LLVHQGXVDQHPDLOWRXQGHUZULWLQJ#JOREDOIXQGLQJH[SHUWVFRPDQGLQWKHERG\RIVXFKUHTXHVW
\RXPXVWVWDWH\RXUHPDLOIXOOQDPHPDLOLQJDGGUHVVDQGWHOHSKRQHQXPEHU:HGRQRWQHHG
DQ\RWKHULQIRUPDWLRQIURP\RXWRZLWKGUDZFRQVHQW7KHFRQVHTXHQFHVRI\RXUZLWKGUDZLQJ
FRQVHQWIRURQOLQHGRFXPHQWVZLOOEHWKDWWUDQVDFWLRQVPD\WDNHDORQJHUWLPHWRSURFHVV


5HTXLUHGKDUGZDUHDQGVRIWZDUH

7KHPLQLPXPV\VWHPUHTXLUHPHQWVIRUXVLQJWKH'RFX6LJQV\VWHPPD\FKDQJHRYHUWLPH7KH
FXUUHQWV\VWHPUHTXLUHPHQWVDUHIRXQGKHUHKWWSVVXSSRUWGRFXVLJQFRPJXLGHVVLJQHUJXLGH
VLJQLQJV\VWHPUHTXLUHPHQWV


$FNQRZOHGJLQJ\RXUDFFHVVDQGFRQVHQWWRUHFHLYHDQGVLJQGRFXPHQWVHOHFWURQLFDOO\

7RFRQILUPWRXVWKDW\RXFDQDFFHVVWKLVLQIRUPDWLRQHOHFWURQLFDOO\ZKLFKZLOOEHVLPLODUWR
RWKHUHOHFWURQLFQRWLFHVDQGGLVFORVXUHVWKDWZHZLOOSURYLGHWR\RXSOHDVHFRQILUPWKDW\RXKDYH
UHDGWKLV(56'DQG L WKDW\RXDUHDEOHWRSULQWRQSDSHURUHOHFWURQLFDOO\VDYHWKLV(56'IRU
\RXUIXWXUHUHIHUHQFHDQGDFFHVVRU LL WKDW\RXDUHDEOHWRHPDLOWKLV(56'WRDQHPDLODGGUHVV
ZKHUH\RXZLOOEHDEOHWRSULQWRQSDSHURUVDYHLWIRU\RXUIXWXUHUHIHUHQFHDQGDFFHVV)XUWKHU
LI\RXFRQVHQWWRUHFHLYLQJQRWLFHVDQGGLVFORVXUHVH[FOXVLYHO\LQHOHFWURQLFIRUPDWDVGHVFULEHG
KHUHLQWKHQVHOHFWWKHFKHFNER[QH[WWRµ,DJUHHWRXVHHOHFWURQLFUHFRUGVDQGVLJQDWXUHV¶EHIRUH
FOLFNLQJµ&217,18(¶ZLWKLQWKH'RFX6LJQV\VWHP

%\VHOHFWLQJWKHFKHFNER[QH[WWRµ,DJUHHWRXVHHOHFWURQLFUHFRUGVDQGVLJQDWXUHV¶\RXFRQILUP
WKDW

   x <RXFDQDFFHVVDQGUHDGWKLV(OHFWURQLF5HFRUGDQG6LJQDWXUH'LVFORVXUHDQG
   x <RXFDQSULQWRQSDSHUWKLV(OHFWURQLF5HFRUGDQG6LJQDWXUH'LVFORVXUHRUVDYHRUVHQG
      WKLV(OHFWURQLF5HFRUGDQG'LVFORVXUHWRDORFDWLRQZKHUH\RXFDQSULQWLWIRUIXWXUH
      UHIHUHQFHDQGDFFHVVDQG
   x 8QWLORUXQOHVV\RXQRWLI\*OREDO)XQGLQJ([SHUWVDVGHVFULEHGDERYH\RXFRQVHQWWR
      UHFHLYHH[FOXVLYHO\WKURXJKHOHFWURQLFPHDQVDOOQRWLFHVGLVFORVXUHVDXWKRUL]DWLRQV
      DFNQRZOHGJHPHQWVDQGRWKHUGRFXPHQWVWKDWDUHUHTXLUHGWREHSURYLGHGRUPDGH
      DYDLODEOHWR\RXE\*OREDO)XQGLQJ([SHUWVGXULQJWKHFRXUVHRI\RXUUHODWLRQVKLSZLWK
      *OREDO)XQGLQJ([SHUWV
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JLK Construction LLC                                               Annual Interest Rate                250.3150%
Global Funding Experts 8-2-21                                      Daily Interest Rate                   0.6858%

            Date            Transaction                Payment             Interest        Principle     Balance

       8/2/2021 Original Loan Amount                                                                   47,246.84
                Loan fee deducted                                                                       8,750.00
                Loan deposited                                                                         38,496.84
       8/3/2021 Payment                                1,300.00            264.01          1,035.99    37,460.85
       8/4/2021 Payment                                1,300.00            256.90          1,043.10    36,417.75
       8/5/2021 Payment                                1,300.00            249.75          1,050.25    35,367.50
       8/6/2021 Payment                                1,300.00            242.55          1,057.45    34,310.05
       8/9/2021 Additional monies (see note)          (9,246.84)             0.00         (9,246.84)   43,556.89
       8/9/2021 Payment                                1,300.00            298.71          1,001.29    42,555.60
      8/10/2021 Payment                                1,300.00            291.84          1,008.16    41,547.45
      8/11/2021 Payment                                1,300.00            284.93          1,015.07    40,532.38
      8/12/2021 Payment                                1,300.00            277.97          1,022.03    39,510.35
      8/13/2021 Payment                                1,300.00            270.96          1,029.04    38,481.31
      8/16/2021 Additional monies (see note)          (9,246.84)             0.00         (9,246.84)   47,728.15
      8/16/2021 Payment                                1,300.00            327.32            972.68    46,755.46
      8/17/2021 Payment                                1,300.00            320.65            979.35    45,776.11
      8/18/2021 Payment                                1,300.00            313.93            986.07    44,790.04
      8/13/2021 Payment                                1,300.00            307.17            992.83    43,797.21
      8/20/2021 Payment                                1,300.00            300.36            999.64    42,797.57
      8/23/2021 Additional monies (see note)          (9,246.84)             0.00         (9,246.84)   52,044.41
      8/23/2021 Payment                                1,300.00            356.92            943.08    51,101.32
      8/24/2021 Payment                                1,300.00            350.45            949.55    50,151.77
      8/25/2021 Payment                                1,300.00            343.94            956.06    49,195.71
      8/26/2021 Payment                                1,300.00            337.38            962.62    48,233.09
      8/27/2021 Payment                                1,300.00            330.78            969.22    47,263.87
      8/30/2021 Additional monies (see note)          (9,246.84)             0.00         (9,246.84)   56,510.71
      8/30/2021 Payment                                1,300.00            387.55            912.45    55,598.26
      8/31/2021 Payment                                1,300.00            381.29            918.71    54,679.55
       9/1/2021 Payment                                1,300.00            374.99            925.01    53,754.54
       9/2/2021 Payment                                1,300.00            368.65            931.35    52,823.19
       9/3/2021 Payment                                1,300.00            362.26            937.74    51,885.44
       9/7/2021 Additional monies (see note)          (9,246.84)             0.00         (9,246.84)   61,132.28
       9/7/2021 Payment                                1,300.00            419.24            880.76    60,251.53
       9/7/2021 Payment                                1,300.00            413.20            886.80    59,364.73
       9/8/2021 Payment                                1,300.00            407.12            892.88    58,471.85
       9/9/2021 Payment                                1,300.00            401.00            899.00    57,572.84
      9/10/2021 Payment                                1,300.00            394.83            905.17    56,667.68
      9/13/2021 Additional monies (see note)          (9,246.84)             0.00         (9,246.84)   65,914.52
      9/13/2021 Payment                                1,300.00            452.04            847.96    65,066.55
      9/14/2021 Payment                                1,300.00            446.22            853.78    64,212.78
      9/15/2021 Payment                                1,300.00            440.37            859.63    63,353.15
      9/16/2021 Payment                                1,300.00            434.47            865.53    62,487.62
      9/17/2021 Payment                                1,300.00            428.54            871.46    61,616.15
      9/20/2021 Additional monies (see note)          (9,246.84)             0.00         (9,246.84)   70,862.99
      9/20/2021 Payment                                1,300.00            485.97            814.03    70,048.97
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      Date             Transaction                Payment       Interest     Principle        Balance

 9/21/2021 Payment                                1,300.00      480.39         819.61       69,229.36
 9/22/2021 Payment                                1,300.00      474.77         825.23       68,404.13
 9/23/2021 Payment                                1,300.00      469.11         830.89       67,573.24
 9/24/2021 Payment                                1,300.00      463.41         836.59       66,736.66
 9/27/2021 Additional monies (see note)          (9,246.84)       0.00      (9,246.84)      75,983.50
 9/28/2021 Payment                                1,300.00      521.09         778.91       75,204.59
 9/29/2021 Payment                                1,300.00      515.75         784.25       74,420.34
 9/30/2021 Payment                                1,300.00      510.37         789.63       73,630.71
 10/1/2021 Payment                                1,300.00      504.96         795.04       72,835.66
 10/4/2021 Payment                                1,300.00      499.50         800.50       72,035.17
 10/4/2021 Additional monies (see note)          (3,778.44)       0.00      (3,778.44)      75,813.61
 10/5/2021 Payment                                1,300.00      519.93         780.07       75,033.53
 10/6/2021 Payment                                1,300.00      514.58         785.42       74,248.11
 10/7/2021 Payment                                1,300.00      509.19         790.81       73,457.30
 10/8/2021 Payment                                1,300.00      503.77         796.23       72,661.06
10/12/2021 Payment                                1,300.00      498.31         801.69       71,859.37
10/12/2021 Payment                                1,300.00        0.00       1,300.00       70,559.37
10/13/2021 Payment                                1,300.00      483.89         816.11       69,743.26
10/14/2021 Payment                                1,300.00      478.30         821.70       68,921.56
10/15/2021 Payment                                1,300.00      472.66         827.34       68,094.22
10/18/2021 Payment                                1,300.00      466.99         833.01       67,261.20
10/19/2021 Payment                                1,300.00        0.00       1,300.00       65,961.20
10/20/2021 Payment                                1,300.00      452.36         847.64       65,113.56
10/21/2021 Payment                                1,300.00      446.55         853.45       64,260.11
10/22/2021 Payment                                1,300.00      440.69         859.31       63,400.80
10/25/2021 Payment                                1,300.00      434.80         865.20       62,535.60
10/26/2021 Payment                                1,300.00      428.87         871.13       61,664.46
10/27/2021 Payment                                1,300.00      422.89         877.11       60,787.35
10/28/2021 Payment                                1,300.00        0.00       1,300.00       59,487.35
10/29/2021 Payment                                1,300.00      407.96         892.04       58,595.32
 11/1/2021 Payment                                1,300.00      401.84         898.16       57,697.16
 11/2/2021 Payment                                1,300.00      395.68         904.32       56,792.84
 11/3/2021 Payment                                1,300.00      389.48         910.52       55,882.33
 11/4/2021 Payment                                1,300.00      383.24         916.76       54,965.56
 11/5/2021 Payment                                1,300.00      376.95         923.05       54,042.51
 11/8/2021 Payment                                1,300.00      370.62         929.38       53,113.13
 11/9/2021 Payment                                1,300.00        0.00       1,300.00       51,813.13
11/10/2021 Payment                                1,300.00      355.33         944.67       50,868.47
11/12/2021 Payment                                1,300.00      348.85         951.15       49,917.32
11/12/2021 Payment                                1,300.00      342.33         957.67       48,959.65
11/15/2021 Payment                                1,300.00      335.76         964.24       47,995.41
11/16/2021 Payment                                1,300.00      329.15         970.85       47,024.56




             Totals - Net of Additional monies   97,500.00    11,510.96    229,726.28
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JLK Construction LLC                                               Annual Interest Rate                 133.5360%
Global Funding Experts 12-7-21                                     Daily Interest Rate                    0.3659%

            Date           Transaction                 Payment             Interest         Principle      Balance

      12/8/2021 Original Loan Amount                                                                    106,090.50
                Loan fee deducted                                                                             0.00
                Loan deposited                                                                          106,090.50
      12/9/2021 Payment                                3,999.00            388.13           3,610.87    102,479.63
     12/10/2021 Payment                                3,999.00            374.92           3,624.08     98,855.56
     12/13/2021 Payment                                3,999.00            361.67           3,637.33     95,218.22
     12/14/2021 Payment                                3,999.00            348.36           3,650.64     91,567.58
     12/15/2021 Additional monies (see note)         (33,090.50)             0.00         (33,090.50)   124,658.08
     12/15/2021 Payment                                3,999.00            456.06           3,542.94    121,115.15
     12/16/2021 Payment                                3,999.00            443.10           3,555.90    117,559.25
     12/17/2021 Payment                                3,999.00            430.09           3,568.91    113,990.34
     12/20/2021 Payment                                3,999.00            417.04           3,581.96    110,408.38
     12/21/2021 Payment                                3,999.00            403.93           3,595.07    106,813.31
     12/22/2021 Additional monies (see note)         (33,090.50)             0.00         (33,090.50)   139,903.81
     12/22/2021 Payment                                3,999.00            511.84           3,487.16    136,416.65
     12/23/2021 Payment                                3,999.00            499.08           3,499.92    132,916.73
     12/24/2021 Payment                                3,999.00            486.28           3,512.72    129,404.01
     12/27/2021 Payment                                3,999.00            473.43           3,525.57    125,878.44
     12/28/2021 Payment                                3,999.00            460.53           3,538.47    122,339.97
     12/29/2021 Additional monies (see note)         (33,090.50)             0.00         (33,090.50)   155,430.47
     12/29/2021 Payment                                3,999.00            568.65           3,430.35    152,000.11
     12/30/2021 Payment                                3,999.00            556.10           3,442.90    148,557.21
     12/31/2021 Payment                                3,999.00            543.50           3,455.50    145,101.71
       1/3/2022 Payment                                3,999.00            530.86           3,468.14    141,633.56
       1/4/2022 Payment                                3,999.00            518.17           3,480.83    138,152.73
       1/5/2022 Additional monies (see note)         (33,090.50)             0.00         (33,090.50)   171,243.23
       1/5/2022 Payment                                3,999.00            626.50           3,372.50    167,870.73
       1/6/2022 Payment                                3,999.00            614.16           3,384.84    164,485.89
       1/7/2022 Payment                                3,999.00            601.78           3,397.22    161,088.66
      1/10/2022 Payment                                3,999.00            589.35           3,409.65    157,679.01
      1/11/2022 Payment                                3,999.00            576.87           3,422.13    154,256.88
      1/12/2022 Additional monies (see note)         (33,090.50)             0.00         (33,090.50)   187,347.38
      1/12/2022 Payment                                3,999.00            685.41           3,313.59    184,033.80
      1/13/2022 Payment                                3,999.00            673.29           3,325.71    180,708.09
      1/14/2022 Payment                                3,999.00            661.12           3,337.88    177,370.21
      1/18/2022 Payment                                3,999.00            648.91           3,350.09    174,020.12
      1/18/2022 Payment                                3,999.00            636.66           3,362.34    170,657.78
      1/19/2022 Additional monies (see note)         (33,090.50)             0.00         (33,090.50)   203,748.28
      1/19/2022 Payment                                3,999.00            745.42           3,253.58    200,494.70
      1/20/2022 Payment                                3,999.00            733.51           3,265.49    197,229.21
      1/21/2022 Payment                                3,999.00            721.57           3,277.43    193,951.78
      1/24/2022 Payment                                3,999.00            709.58           3,289.42    190,662.36
      1/25/2022 Payment                                3,999.00            697.54           3,301.46    187,360.90
      1/26/2022 Additional monies (see note)         (33,090.50)             0.00         (33,090.50)   220,451.40
      1/26/2022 Payment                                3,999.00            806.53           3,192.47    217,258.92
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      Date            Transaction                Payment      Interest     Principle      Balance

 1/27/2022 Payment                               3,999.00      794.85      3,204.15    214,054.77
 1/28/2022 Payment                               3,999.00      783.12      3,215.88    210,838.89
 1/31/2022 Payment                               3,999.00      771.36      3,227.64    207,611.25
  2/1/2022 Payment                               3,999.00      759.55      3,239.45    204,371.80
  2/2/2022 Additional monies (see note)        (33,090.50)       0.00    (33,090.50)   237,462.30
  2/2/2022 Payment                               3,999.00      868.76      3,130.24    234,332.06
  2/3/2022 Payment                               3,999.00      857.31      3,141.69    231,190.37
  2/4/2022 Payment                               3,999.00      845.81      3,153.19    228,037.19
  2/7/2022 Payment                               3,999.00      834.28      3,164.72    224,872.47
  2/8/2022 Payment                               3,999.00      822.70      3,176.30    221,696.17
  2/9/2022 Additional monies (see note)        (33,090.50)       0.00    (33,090.50)   254,786.67
  2/9/2022 Payment                               3,999.00      932.14      3,066.86    251,719.81
 2/10/2022 Payment                               3,999.00      920.92      3,078.08    248,641.73
 2/11/2022 Payment                               3,999.00      909.66      3,089.34    245,552.39
 2/14/2022 Payment                               3,999.00      898.36      3,100.64    242,451.75
 2/15/2022 Payment                               3,999.00      887.01      3,111.99    239,339.76
 2/16/2022 Additional monies (see note)        (33,090.50)       0.00    (33,090.50)   272,430.26
 2/16/2022 Payment                               3,999.00      996.69      3,002.31    269,427.96
 2/17/2022 Payment                               3,999.00      985.71      3,013.29    266,414.66
 2/18/2022 Payment                               3,999.00      974.68      3,024.32    263,390.35
 2/22/2022 Payment                               3,999.00      963.62      3,035.38    260,354.97
 2/22/2022 Payment                               3,999.00      952.51      3,046.49    257,308.48
 2/23/2022 Additional monies (see note)        (33,090.50)       0.00    (33,090.50)   290,398.98
 2/23/2022 Payment                               3,999.00    1,062.43      2,936.57    287,462.41
 2/24/2022 Payment                               3,999.00    1,051.69      2,947.31    284,515.10
 2/25/2022 Payment                               3,999.00    1,040.90      2,958.10    281,557.00
 2/28/2022 Payment                               3,999.00    1,030.08      2,968.92    278,588.08
  3/1/2022 Payment                               3,999.00    1,019.22      2,979.78    275,608.30
  3/2/2022 Additional monies (see note)        (33,090.50)       0.00    (33,090.50)   308,698.80
  3/2/2022 Payment                               3,999.00    1,129.38      2,869.62    305,829.19
  3/3/2022 Payment                               3,999.00    1,118.88      2,880.12    302,949.07
  3/4/2022 Payment                               3,999.00    1,108.35      2,890.65    300,058.41
  3/7/2022 Payment                               3,999.00    1,097.77      2,901.23    297,157.18
  3/8/2022 Payment                               3,999.00    1,087.16      2,911.84    294,245.34
  3/9/2022 Additional monies (see note)        (33,090.50)       0.00    (33,090.50)   327,335.84
  3/9/2022 Payment                               3,999.00    1,197.56      2,801.44    324,534.40
 3/10/2022 Payment                               3,999.00    1,187.32      2,811.68    321,722.72
 3/11/2022 Payment                               3,999.00    1,177.03      2,821.97    318,900.75
 3/14/2022 Payment                               3,999.00    1,166.70      2,832.30    316,068.45
 3/15/2022 Payment                               3,999.00    1,156.34      2,842.66    313,225.80
 3/16/2022 Additional monies (see note)        (33,090.50)       0.00    (33,090.50)   346,316.30
 3/16/2022 Payment                               3,999.00    1,267.01      2,731.99    343,584.30
 3/17/2022 Payment                               3,999.00    1,257.01      2,741.99    340,842.31
 3/18/2022 Payment                               3,999.00    1,246.98      2,752.02    338,090.29
 3/21/2022 Payment                               3,999.00    1,236.91      2,762.09    335,328.20
 3/22/2022 Payment                               3,999.00    1,226.81      2,772.19    332,556.01
 3/23/2022 Additional monies (see note)        (30,642.50)       0.00    (30,642.50)   363,198.51
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     Date             Transaction                 Payment       Interest     Principle         Balance

 3/23/2022 Payment                                3,999.00     1,328.77      2,670.23       360,528.28
 3/24/2022 Payment                                3,999.00     1,319.00      2,680.00       357,848.28
 3/25/2022 Payment                                3,999.00     1,309.20      2,689.80       355,158.47
 3/28/2022 Payment                                3,999.00     1,299.35      2,699.65       352,458.83
 3/29/2022 Payment                                3,999.00     1,289.48      2,709.52       349,749.30
 3/30/2022 Payment                                3,999.00     1,279.57      2,719.43       347,029.87
 3/31/2022 Payment                              566,076.00     1,269.62    564,806.38      (217,776.52)
 3/31/2022 Payment                                3,999.00         0.00      3,999.00      (221,775.52)
  4/1/2022 Payment                                3,999.00         0.00      3,999.00      (225,774.52)
 4/11/2022 Refund                               (27,993.00)        0.00    (27,993.00)     (197,781.52)




            Totals - Net of Additional monies   893,994.00    41,381.82    797,781.52
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JLK Construction LLC                                                 Annual Interest Rate                 169.3500%
Global Funding Experts - 7/13/22                                     Daily Interest Rate                    0.4640%

            Date             Transaction                  Payment            Interest         Principle      Balance

      7/14/2022 Original Loan Amount                                                                       20,241.10
                Loan fee deducted                                                                               0.00
                Loan deposited                                                                             20,241.10
      7/18/2022 Payment                                  2,499.00            375.65           2,123.35     18,117.75
      7/19/2022 Payment                                  2,499.00            336.25           2,162.75     15,955.00
      7/20/2022 Payment                                  2,499.00            296.11           2,202.89     13,752.11
      7/21/2022 Additional monies - see note           (19,546.10)             0.00         (19,546.10)    33,298.21
      7/21/2022 Payment                                  2,499.00            617.98           1,881.02     31,417.18
      7/22/2022 Payment                                  2,499.00            583.07           1,915.93     29,501.25
      7/25/2022 Payment                                  2,499.00            547.51           1,951.49     27,549.76
      7/26/2022 Payment                                  2,499.00            511.29           1,987.71     25,562.06
      7/27/2022 Payment                                  2,499.00            474.40           2,024.60     23,537.46
      7/28/2022 Additional monies - see note           (19,546.10)             0.00         (19,546.10)    43,083.56
      7/28/2022 Payment                                  2,499.00            799.58           1,699.42     41,384.14
      7/28/2022 Payment                                 60,716.29            768.04          59,948.25    (18,564.10)
       8/4/2022 Additional monies - see note            (4,998.00)          (344.53)         (4,653.47)   (13,910.63)


                   Totals - Net of Additional
                   monies                               83,207.29          4,965.36          78,241.93




Note: Additional Monies - The loan was broken into 18 amounts made on a weekly basis. The lender
only advances 4 of the 18 scheduled amounts for a total of $64,331.20.

On July 28, 2022, the lender withdrew the final payment of $60,716.29 to pay off the loan.
The lender then on August 4, 2022, sent additional funds in the amount of $4,998.00.
The amount withdrawn less the final additional funds provided resulted in the lender
receiving $13,910.63 in money in excess of the amounts loaned
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JLK Construction LLC                                            Annual Interest Rate               263.1000%
Global Funding Experts - 8/5/22                                 Daily Interest Rate                  0.7208%

            Date           Transaction                Payment           Interest       Principle     Balance

       8/9/2022 Original Loan Amount                                                               50,000.00
                Loan fee deducted                                                                   5,000.00
                Loan deposited                                                                     45,000.00
       8/9/2022 Payment                                590.45           324.37          266.08     44,733.92
      8/10/2022 Payment                                590.45           322.45          268.00     44,465.92
      8/11/2022 Payment                                590.45           320.52          269.93     44,195.99
      8/12/2022 Payment                                590.45           318.57          271.88     43,924.12
      8/15/2022 Payment                                590.45           316.61          273.84     43,650.28
      8/16/2022 Payment                                590.45           314.64          275.81     43,374.47
      8/17/2022 Payment                                590.45           312.65          277.80     43,096.67
      8/18/2022 Payment                                590.45           310.65          279.80     42,816.87
      8/19/2022 Payment                                590.45           308.63          281.82     42,535.06
      8/22/2022 Payment                                590.45           306.60          283.85     42,251.21
      8/23/2022 Payment                                590.45           304.56          285.89     41,965.32
      8/24/2022 Payment                                590.45           302.50          287.95     41,677.36
      8/25/2022 Payment                                590.45           300.42          290.03     41,387.33
      8/26/2022 Payment                                590.45           298.33          292.12     41,095.21
      8/29/2022 Payment                                590.45           296.22          294.23     40,800.98
      8/30/2022 Payment                                590.45           294.10          296.35     40,504.64
      8/31/2022 Payment                                590.45           291.97          298.48     40,206.15
       9/1/2022 Payment                                590.45           289.81          300.64     39,905.52
       9/2/2022 Payment                                590.45           287.65          302.80     39,602.71
       9/6/2022 Payment                                590.45           285.47          304.98     39,297.73
       9/6/2022 Payment                                590.45           283.27          307.18     38,990.55
       9/7/2022 Payment                                590.45           281.05          309.40     38,681.15
       9/8/2022 Payment                                590.45           278.82          311.63     38,369.52
       9/9/2022 Payment                                590.45           276.58          313.87     38,055.65
      9/12/2022 Payment                                590.45           274.31          316.14     37,739.51
      9/13/2022 Payment                                590.45           272.03          318.42     37,421.09
      9/14/2022 Payment                                590.45           269.74          320.71     37,100.38
      9/15/2022 Payment                                590.45           267.43          323.02     36,777.36
      9/16/2022 Payment                                590.45           265.10          325.35     36,452.01
      9/19/2022 Payment                                590.45           262.75          327.70     36,124.32
      9/20/2022 Payment                                590.45           260.39          330.06     35,794.26
      9/21/2022 Payment                                590.45           258.01          332.44     35,461.82
      9/22/2022 Payment                                590.45           255.62          334.83     35,126.99
      9/23/2022 Payment                                590.45           253.20          337.25     34,789.74
      9/26/2022 Payment                                590.45           250.77          339.68     34,450.06
      9/27/2022 Payment                                590.45           248.32          342.13     34,107.94
      9/28/2022 Payment                                590.45           245.86          344.59     33,763.34
      9/29/2022 Payment                                590.45           243.37          347.08     33,416.27
      9/30/2022 Payment                                590.45           240.87          349.58     33,066.69
      10/3/2022 Payment                                590.45           238.35          352.10     32,714.59
      10/4/2022 Payment                                590.45           235.81          354.64     32,359.95
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     Date            Transaction                Payment      Interest    Principle      Balance

 10/5/2022 Payment                               590.45      233.26        357.19     32,002.76
 10/6/2022 Payment                               590.45      230.68        359.77     31,642.99
 10/7/2022 Payment                               590.45      228.09        362.36     31,280.63
10/11/2022 Payment                               590.45      225.48        364.97     30,915.66
10/11/2022 Payment                               590.45      222.85        367.60     30,548.06
10/12/2022 Payment                               590.45      220.20        370.25     30,177.81
10/13/2022 Payment                               590.45      217.53        372.92     29,804.88
10/14/2022 Payment                               590.45      214.84        375.61     29,429.27
10/17/2022 Payment                               590.45      212.13        378.32     29,050.96
10/18/2022 Payment                               590.45      209.41        381.04     28,669.91
10/19/2022 Payment                               590.45      206.66        383.79     28,286.12
10/20/2022 Payment                               590.45      203.89        386.56     27,899.56
10/21/2022 Payment                               590.45      201.11        389.34     27,510.22
10/24/2022 Payment                               590.45      198.30        392.15     27,118.07
10/25/2022 Payment                               590.45      195.47        394.98     26,723.09
10/26/2022 Payment                               590.45      192.63        397.82     26,325.27
10/27/2022 Payment                               590.45      189.76        400.69     25,924.58
10/28/2022 Payment                               590.45      186.87        403.58     25,521.00
10/31/2022 Payment                               590.45      183.96        406.49     25,114.51
 11/1/2022 Payment                               590.45      181.03        409.42     24,705.09
 11/2/2022 Payment                               590.45      178.08        412.37     24,292.72
 11/3/2022 Payment                               590.45      175.11        415.34     23,877.38
 11/4/2022 Payment                               590.45      172.11        418.34     23,459.04
 11/7/2022 Payment                               590.45      169.10        421.35     23,037.69
 11/8/2022 Payment                               590.45      166.06        424.39     22,613.30
 11/9/2022 Payment                               590.45      163.00        427.45     22,185.85
11/10/2022 Payment                               590.45      159.92        430.53     21,755.32
11/14/2022 Payment                               590.45      156.82        433.63     21,321.69
11/14/2022 Payment                               590.45      153.69        436.76     20,884.93
11/14/2022 Payment                            26,090.30        0.00     26,090.30     (5,205.37)


            Totals                            67,421.80    17,216.43    50,205.37
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                         JLK Construction, LLC
                            Balance Sheet
                            As of December 30, 2020
                Tuesday, Mar 05, 2024 11:51:31 AM GMT-8 - Accrual Basis
                                                                          Total
ASSETS
 Current Assets
   Bank Accounts
    Nodaway Valley Bank                                                      -18,349.27
   Total Bank Accounts                                          -$           18,349.27
   Accounts Receivable
    Accounts Receivable                                                     340,389.76
   Total Accounts Receivable                                    $           340,389.76
   Other Current Assets
    Undeposited Funds                                                                 0.00
   Total Other Current Assets                                   $                     0.00
 Total Current Assets                                           $           322,040.49
 Fixed Assets
   Furniture and Equipment                                                  282,361.44
 Total Fixed Assets                                             $           282,361.44
TOTAL ASSETS                                                    $           604,401.93
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
    Accounts Payable
      Post Petition Accounts Payable                                                  0.00
    Total Accounts Payable                                      $                    0.00
    Other Current Liabilities
      Cindy Kagarice (deleted)                                               15,000.00
      john deere (deleted)                                                  155,778.00
      Mary Lou Castle                                                        12,500.00

      Nodaway - comm Loan#3180072 (deleted)                                       1,046.70
      Nodaway-Bank Loan #3180103 (deleted)                                        1,307.09
      Nodaway-Bank Loan #3190146                                            237,846.20
      Payroll Liabilities                                                         3,181.87

      SBA Payroll Protection Program (deleted)                                    9,403.51
      William Gerber                                                        100,000.00
    Total Other Current Liabilities                             $           536,063.37
   Total Current Liabilities                                    $           536,063.37
   Long-Term Liabilities
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                     JLK Construction, LLC
                        Balance Sheet
    SBA Small Business Loan Covid19                         149,900.00
    Steve Roberts                                           175,700.00
   Total Long-Term Liabilities                      $       325,600.00
 Total Liabilities                                  $       861,663.37
 Equity
   Members Draw                                             -61,554.16
   Retained Earnings                                         64,475.98
   Net Income                                              -260,183.26
 Total Equity                                       -$      257,261.44
TOTAL LIABILITIES AND EQUITY                        $       604,401.93
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                          JLK Construction, LLC
                             Balance Sheet
                               As of December 31, 2021
                   Tuesday, Mar 05, 2024 11:52:26 AM GMT-8 - Accrual Basis
                                                                             Total
ASSETS
 Current Assets
   Bank Accounts
    Nodaway Valley Bank                                                        961,482.53
   Total Bank Accounts                                                 $       961,482.53
   Accounts Receivable
    Accounts Receivable                                                        109,552.89
   Total Accounts Receivable                                           $       109,552.89
   Other Current Assets
    Costs in Excess of Billings                                                337,298.00
    Undeposited Funds                                                                    0.00
   Total Other Current Assets                                          $       337,298.00
 Total Current Assets                                                  $      1,408,333.42
 Fixed Assets
   Accumulated Depreciation                                                    -140,397.87
   Ashland Scraper                                                              40,936.25
   Equipment - Tractor STE400                                                  131,000.00
   Equipment -Overseeder Single Seed Box                                        10,005.00
   Equipment Purchased 12-2021                                                 473,815.28
   Equipment Trailer - Wagner Sales, Inc.                                            5,712.73
   Ford F-250                                                                   96,230.00
   Ford F250 2017                                                               12,018.07
   Furniture and Equipment                                                     332,207.56
   Hydraulic Excavator 306-07CR                                                 93,640.83
   Real Estate Purchased - Elwood                                               10,000.00
   Subaru                                                                       81,013.00
   Superintendent's Truck                                                       58,700.00
   Supervisor's Truck                                                           58,700.00
 Total Fixed Assets                                                    $      1,263,580.85
TOTAL ASSETS                                                           $      2,671,914.27
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
    Accounts Payable
      Post Petition Accounts Payable                                           228,633.00
    Total Accounts Payable                                             $       228,633.00
    Credit Cards
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                            JLK Construction, LLC
                               Balance Sheet
      Central Bank CC
        Cole Kagarice CC                                            5,443.50
        Jesse Kagarice CC                                           3,982.57
      Total Central Bank CC                               $         9,426.07
    Total Credit Cards                                    $         9,426.07
    Other Current Liabilities
      Direct Deposit Payable                                            0.00
      GCM Capital LLC                                                   0.00
      Greenbox Capital                                              4,396.60
      Jesse Kagarice                                                    0.00
      Mary Lou Castle                                                   0.00
      Nodaway-Bank Loan #3190146                                        0.00
      Payroll Liabilities                                              64.50
        101 Vacation- JLK                                               0.00
        101-Union Dues                                               143.40
        Child Support                                                   0.00
        Federal Taxes (941/944)                                         0.00
        Federal Unemployment (940)                                   692.75
        Federal _ Kansas                                                0.00
        Kansas City-Tax JLk                                             0.00
        Kansas-Kansas                                                   0.00
        KS Income Tax                                                   0.00
        KS Unemployment Tax                                             0.00
        medicare-KS                                                     0.00
        Mkt Recovery Due                                                0.00
        MO Income Tax                                                   0.00
        MO Unemployment Tax                                         2,297.76
        Social Security-Kansas                                          0.00
        Supp Dues 1290                                                  0.00
        Supp Dues 579                                                   0.00
        Vacation 101- Employee                                          0.00
        Vacation 1290                                                   0.00
        Vacation-579                                                    0.00
      Total Payroll Liabilities                           $         3,198.41
      William Gerber                                                    0.00
    Total Other Current Liabilities                       $         7,595.01
   Total Current Liabilities                              $       245,654.08
   Long-Term Liabilities
    2017 Ford F250 - Loan                                          11,132.28
    Ally - Supervisor's Truck                                      57,153.64
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                        JLK Construction, LLC
                           Balance Sheet
    CAT Financial - CAT Drum Roller                              101,277.87
    CAT Financial - Hydraulic Excavator 306-07CR                  93,640.83
    CNH Capital                                                   70,219.59
    DLL Financial Solutions Partner                               34,810.53
    Ein Cap Funding                                              152,438.00
    Ford Credit - superintendent's Truck                          56,821.40
    Ford Finance King Ranch                                       90,713.71
    Global Funding Experts                                       163,839.00
    Legend Funding                                               116,978.07
    Montrose Savings Bank                                         21,975.22
    Nodaway - Commerical Loan 3210167                            167,733.14

    People's United Equipment Finance CAT Motorgrader            112,706.94

    People's United Equipment Finance Corp Acct104944            443,815.28
    Peoples United Equipment - 2013 STE400                        87,184.97
    Providence Capital Lease                                     106,617.56
    SBA Small Business Loan Covid19                              146,163.45
    Steve Roberts                                                141,300.00
    Subaru Motors                                                 81,013.00
   Total Long-Term Liabilities                           $      2,257,534.48
 Total Liabilities                                       $      2,503,188.56
 Equity
   Members Draw                                                  -192,333.96
   Retained Earnings                                             -291,823.52
   Net Income                                                    652,883.19
 Total Equity                                            $       168,725.71
TOTAL LIABILITIES AND EQUITY                             $      2,671,914.27
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                           JLK Construction, LLC
                              Balance Sheet
                                As of December 31, 2022
                    Tuesday, Mar 05, 2024 11:53:13 AM GMT-8 - Accrual Basis
                                                                              Total
ASSETS
 Current Assets
   Bank Accounts
    Bison State Bank Checking (-096)                                            100,002.07
    Central Bank of the Midwest (deleted)                                              480.97
    Nodaway Valley Bank                                                                543.79
   Total Bank Accounts                                                   $      101,026.83
   Accounts Receivable
    Accounts Receivable                                                         369,403.55
   Total Accounts Receivable                                             $      369,403.55
   Other Current Assets
    Costs in Excess of Billings                                                           0.00
    Prepaid Assets                                                              143,369.00
    Undeposited Funds                                                                     0.00
   Total Other Current Assets                                            $      143,369.00
 Total Current Assets                                                    $      613,799.38
 Fixed Assets
   2007 KW                                                                       67,920.00
   2022 Polaris 3NSN4E001NF586725                                                     2,000.00
   Accumulated Depreciation                                                     -619,511.01
   Ashland Scraper                                                                        0.00
   Equipment - 2007 Kenworth Road Tractor                                        16,980.00
   Equipment - Tractor STE400                                                   131,000.00
   Equipment -Overseeder Single Seed Box                                         10,005.00
   Equipment 2022 Polaris Ranger Z22N4E99AN                                      36,792.36
   Equipment Purchased 12-2021                                                  473,815.28
   Equipment Trailer - Wagner Sales, Inc.                                             5,712.73
   Ford F-250                                                                    96,230.00
   Ford F250 2017                                                                12,903.86
   Furniture and Equipment                                                      292,207.56
   Hydraulic Excavator 306-07CR                                                  93,640.83
   Leasehold Improvements                                                        19,379.50
   Machinery & Equipment                                                       3,703,684.09
   Polaris Ranger                                                                13,620.16
   Real Estate Purchased - Elwood                                               150,000.00
   Subaru                                                                        81,013.00
   Superintendent's Truck                                                        58,700.00
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                             Balance Sheet
   Supervisor's Truck                                               58,700.00
 Total Fixed Assets                                        $     4,704,793.36
 Other Assets
   Intangible Assets
    Accumulated Amortization                                       -16,192.89
    SBA Loan Origination Fees                                      647,715.00
   Total Intangible Assets                                 $       631,522.11
 Total Other Assets                                        $       631,522.11
TOTAL ASSETS                                               $     5,950,114.85
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
    Accounts Payable
      Post Petition Accounts Payable                             1,488,677.62
    Total Accounts Payable                                 $     1,488,677.62
    Credit Cards
      Central Bank CC                                                 254.39
        Burkdoll CC                                                  7,661.08
        Central bank CC main account                                 3,000.00
        Cindy CC                                                    11,282.80
        Cole Kagarice CC                                            40,195.00
        Jason McManus                                               11,103.95
        Jesse Kagarice CC                                           59,578.83
        Roy Kagarice CC                                             31,643.02
        Service Truck 6793                                           1,305.55
        Truck service 7148                                          18,322.65
      Total Central Bank CC                                $       184,347.27
    Total Credit Cards                                     $       184,347.27
    Other Current Liabilities
      4K Hauling                                                    50,000.00
      Advanced Solutions                                                 0.00
      Alva Advance 1st                                             119,336.00
      Alva Advance 2nd                                              71,514.00
      Cindy Kagarice                                                 6,000.00
      Direct Deposit Payable                                             0.00
      FFCG LLC                                                           0.00
      GCM Capital LLC                                                    0.00
      Greenbox Capital                                                   0.00
      Jayme Kagarice Personal Account                               24,925.00
      Jesse Kagarice                                                     0.00
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                            JLK Construction, LLC
                               Balance Sheet
      Mary Lou Castle                                                    0.00
      Nodaway-Bank Loan #3190146                                    80,000.00
      Payroll Liabilities                                                0.00
        101 Vacation- JLK                                                0.00
        101-Union Dues                                                   0.00
        Child Support                                                    0.00
        Federal Taxes (941/944)                                          0.00
        Federal Unemployment (940)                                       0.00
        Federal _ Kansas                                                 0.00
        Kansas City-Tax JLk                                              0.00
        Kansas-Kansas                                                    0.00
        KS Income Tax                                                    0.00
        KS Unemployment Tax                                              0.00
        medicare-KS                                                      0.00
        Mkt Recovery Due                                                 0.00
        MO Income Tax                                                    0.00
        MO Unemployment Tax                                              0.00
        Social Security-Kansas                                           0.00
        Supp Dues 1290                                                   0.00
        Supp Dues 579                                                    0.00
        Vacation 101- Employee                                           0.00
        Vacation 1290                                                    0.00
        Vacation-579                                                     0.00
      Total Payroll Liabilities                            $             0.00
      Premium Merchant Funding                                           0.00
      William Gerber                                                     0.00
    Total Other Current Liabilities                        $       351,775.00
   Total Current Liabilities                               $     2,024,799.89
   Long-Term Liabilities
    2017 Ford F250 - Loan                                                0.00
    Ally - Supervisor's Truck                                       49,539.58
    Arnold William Gerber                                          145,000.00
    Bank of the Midwest 2009 Lowboy Loan                            60,800.71
    CAT Financial - CAT Drum Roller                                 84,076.23
    CAT Financial - Hydraulic Excavator 306-07CR                    78,015.41

    Central Bank of the Midwest - Commercial Loan 2085             119,769.60
    CNH Capital                                                     58,738.72
    DLL Financial Solutions Partner                                      0.00
    Ein Cap Funding                                                108,655.00
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    Everest Funding                                                53,407.77
    Ford Credit - superintendent's Truck                           49,261.03
    Ford Finance King Ranch                                        78,363.34
    Fundamental Capital                                           481,624.18
    Global Funding Experts                                              0.00
    Legend Funding                                                      0.00
    Montrose Savings Bank                                               0.00
    Newtek SBA 7a loan                                          4,911,745.13
    Nodaway - Commerical Loan 3210167                             127,708.89

    People's United Equipment Finance CAT Motorgrader              83,011.11

    People's United Equipment Finance Corp Acct104944               2,714.06
    Peoples United Equipment - 2013 STE400                         60,907.39
    Providence Capital Lease                                       88,558.46
    Providence Capital Lease 2                                    181,257.09
    Rapid Finance                                                  54,819.94
    SBA Small Business Loan Covid19                               487,357.29
    Steve Roberts                                                       0.00
    Subaru Motors                                                  70,379.81
   Total Long-Term Liabilities                            $     7,435,710.74
 Total Liabilities                                        $     9,460,510.63
 Equity
   Members Draw                                                  -105,212.35
   Retained Earnings                                             -249,082.79
   Net Income                                                   -3,156,100.64
 Total Equity                                             -$    3,510,395.78
TOTAL LIABILITIES AND EQUITY                              $     5,950,114.85
